Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 1 of 424




                       EXHIBIT
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        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 2 of 424




ANDERSON KILL P.C.                                                    Filed and Attested by the
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         IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                 FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                     :
M.S. ACQUISITIONS & HOLDINGS,        :
LLC; and MEGA PHILADELPHIA, LLC,     :
                                     :
                        Plaintiffs,  :
                                     :    No.
      v.                             :
                                     :
VIGILANT INSURANCE COMPANY,
                                     :
                         Defendant.  :
                                     :
                                     :
                                     :

                                 NOTICE TO DEFEND
                           NOTIFICACIÓN PARA DEFENDERSE

                   NOTICE                                           AVISO

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defend against the claims set forth in the        usted quiere defenderse de las demandas
following pages, you must take action within      expuestas en las páginas siguientes, usted
twenty (20) days after this complaint and         debe tomar acción en el plazo de veinte (20)
notice are served, by entering a written          días a partir de la fecha en que se le hizo
appearance personally or by attorney and          entrega de la demanda y la notificación, al
filing in writing with the court your defenses    interponer una comparecencia escrita, en
or objections to the claims set forth against     persona o por un abogado y registrando por
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claimed in the complaint or for any other         podría dictarse un fallo por el juez en contra
claim or relief requested by the plaintiff. You   suya sin notificación adicional y podría ser
may lose money or property or other rights        por cualquier dinero reclamado en la
important to you.                                 demanda o por cualquier otro reclamo o
                                                  desagravio en la demanda solicitado por el


docs-100322177.1
                                                                                       Case ID: 201101371
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 3 of 424




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docs-100322177.1
                                                                             Case ID: 201101371
         Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 4 of 424




                            IN THE COURT OF COMMON PLEAS
                        OF PHILADELPHIA COUNTY, PENNSYLVANIA

                                                  :
 M.S. ACQUISITIONS & HOLDINGS,                    :
 LLC; and MEGA PHILADELPHIA, LLC,                 :
                                                  :
                                 Plaintiffs,      :
                                                  :   No.
         v.                                       :
                                                      COMPLAINT AND DEMAND FOR
                                                  :
 VIGILANT INSURANCE COMPANY,                          JURY TRIAL
                                                  :
                                  Defendant.      :
                                                  :
                                                  :
                                                  :


                                               COMPLAINT


        M.S. Acquisitions & Holdings, LLC and Mega Philadelphia, LLC (collectively “MSA”

or “Plaintiffs”), by and through its undersigned counsel, Anderson Kill, P.C., submits the

following Complaint against Defendant Vigilant Insurance Company (“Chubb” or “Defendant”),

which is owned by the parent company The Chubb Group.

                                         INTRODUCTION

                   1.   The transmission of the severe acute respiratory syndrome coronavirus 2

(“SARS-CoV-2”), commonly known as the coronavirus, has caused a pandemic affecting

millions of people around the world. MSA’s business has suffered enormously as a result.

                   2.   M.S. Acquisitions & Holdings, LLC owns and operates Mega Philadelphia,

LLC, a Spanish-speaking radio station serving the Hispanic community in the Philadelphia

metropolitan area, with properties in Philadelphia, Pennsylvania, and Cherry Hill and Camden,

New Jersey (the “Properties”).




                                                                                         Case ID: 201101371
docs-100321939.2
         Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 5 of 424




                   3.    The property damage and orders of civil authority associated with SARS-

CoV-2 have caused MSA to sustain hundreds of thousands of dollars in business income losses.

These losses are covered under the insurance policy that MSA purchased from Chubb.

                   4.    MSA has paid substantial premiums to Chubb for a property insurance

policy that provides $390,000 in business interruption coverage during the policy period from

September 30, 2019 to September 30, 2020 (the “Policy”).

                   5.    The Policy provides “all risk” insurance coverage – that is, it provides

coverage for all risks, except as specifically excluded.

                   6.    The risks associated with viruses and pandemics have been known to the

insurance industry for a century and have been well known to Chubb in recent decades during

which we all have witnessed outbreaks and pandemics involving viruses such as SARS, MERS,

H1N1, and Zika.

                   7.    Because these risks are well known, there are exclusions in common usage

in the insurance industry that specifically reference losses caused by viruses and pandemics.

However, Chubb did not include any such exclusion as part of the Policy they sold to MSA.

                   8.    The Policy includes coverage for business interruption losses, as well as

“Additional Coverages” that cover business interruption losses like those MSA is suffering in the

wake of the coronavirus outbreak.

                   9.    The Policy’s terms, coupled with the absence of any applicable exclusion

(despite commonly used exclusions for viruses and pandemics), establish that the Policy provides

insurance coverage for MSA’s business interruption losses from the coronavirus pandemic.

                   10.   MSA submitted a timely claim.

                   11.   Chubb adjusted and denied MSA’s claim improperly and in bad faith.



                                                 2
                                                                                         Case ID: 201101371
docs-100321939.2
         Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 6 of 424




                   12.   This insurance coverage action seeks a judicial declaration that Chubb must

indemnify MSA for business interruption losses suffered due to the coronavirus pandemic, and

damages arising from Chubb’s breach of the insurance Policy that it sold to MSA, as well as

consequential damages and additional damages for Defendant’s bad faith conduct in its handling of

MSA’s insurance claim giving rise to this action.

                                             PARTIES

                   13.   Plaintiff M.S. Acquisitions & Holdings, LLC is a limited liability company

organized under the laws of the state of Florida with an address of 1341 N. Delaware Avenue,

Suite 509, Philadelphia, Pennsylvania.

                   14.   Mega Philadelphia, LLC is a limited liability company organized under the

laws of the state of New Jersey with an address of 1341 N. Delaware Avenue, Suite 509,

Philadelphia, Pennsylvania.

                   15.   Upon information and belief, Defendant Vigilant Insurance Company is an

insurance company organized under the laws of the state of New York, with an address of 55

Water Street, New York, New York.

                                  JURISDICTION AND VENUE

                   16.   This Court has personal jurisdiction because, at all times material hereto,

Defendant transacted business within the Commonwealth of Pennsylvania, and because Defendant

engages in substantial and not isolated activity within the Commonwealth of Pennsylvania.

                   17.   Venue is proper in this County pursuant to Pennsylvania Rule of Civil

Procedure 2179(b) because, among other things, Defendant regularly conducts business in this

County and the insured property is located in this County.




                                                  3
                                                                                           Case ID: 201101371
docs-100321939.2
         Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 7 of 424




                                       FACTUAL BACKGROUND

                   18.      The purpose of business interruption insurance, like that purchased by MSA

from Chubb, is to protect policyholders from losses arising out of the shutdown of normal business

operations due to loss or damage sustained as a result of a peril insured against.

                   19.      Indeed, Chubb’s intent in drafting the Policy was to cover the very types of

losses suffered by MSA because there is affirmative coverage for business interruption of this type

and the Policy does not contain a virus exclusion.

                   20.      Now, faced with covered losses caused by a global disaster, MSA has

asked Chubb to honor the promise of insurance coverage that Chubb made when it sold the

Policy to MSA. But Chubb has shirked its contractual obligation and abandoned Plaintiffs in

their time of greatest need.

                   A.       MSA’s Insurance Policy and Relevant Policy Terms

                   21.      Chubb sold to MSA policy no. 3603-87-49 ECE, a unique property and

liability insurance policy under the Customarq Series Broadcasters Insurance Program covering

the policy period from September 30, 2019 to September 30, 2020. See Ex. 1.

                   22.      To date, MSA has paid all premiums for the Policy, and has satisfied all

relevant and applicable conditions precedent to obtaining payments owed under the Policy to the

extent that they have not been waived or abrogated by Chubb’s conduct, omissions, actions or

breaches.

                   23.      The Policy provides insurance coverage for MSA’s Properties, as well as

business income loss as follows:

                   We will pay for the actual:

                        business income loss you incur due to the actual impairment of your
                         operations; and


                                                     4
                                                                                               Case ID: 201101371
docs-100321939.2
         Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 8 of 424




                        extra expense you incur due to the actual or potential impairment of
                         your operations

                   during the period of restoration . . . .

                   This actual or potential impairment of operations must be caused by or
                   result from direct physical loss or damage by a covered peril to property,
                   unless otherwise stated.

See Policy, Property Insurance Business Income with Extra Expense, at 3 of 15.

                   24.      The Policy’s Business Income Coverage contains “Additional Coverages.”

See id. at 5-10 of 15. At least two of these “Additional Coverages” – Civil Authority coverage

and Dependent Business Premises coverage – provide coverage for MSA’s business incomes

losses at issue here.

                   25.      As relevant to these two coverages, “dependent business premises” means:

                   premises operated by others on whom you depend to:

                        deliver materials or services to you or to others for your account
                         (contributing premises);
                        accept your products or services (recipient premises); . . . or
                        attract customers to your business (leader premises).

See Policy, Property/Business Income Conditions and Definitions, at 14 of 34.

                   26.      The Policy provides Civil Authority coverage as follows:

                   We will pay for the actual:

                        business income loss; or
                        extra expense,

                   you incur due to the actual potential impairment of your operations directly
                   caused by the prohibition of access to:

                        your premises; or
                        a dependent business premises,

                   by a civil authority.



                                                       5
                                                                                                Case ID: 201101371
docs-100321939.2
         Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 9 of 424




                   This prohibition of access by a civil authority must be the direct result of
                   direct physical loss or damage to property away from such premises or such
                   dependent business premises by a covered peril, provided such property in
                   within:
                    one mile
                   ***
                   from such premises or dependent business premises[.]

See Policy, Property Insurance Business Income with Extra Expense, at 5-6 of 15.

                   27.      The Policy provides Dependent Business Premises coverage as follows:

                   We will pay for the actual:

                        business income loss you incur due to the actual impairment of your
                         operations; and
                        extra expense you incur due to the actual or potential impairment of
                         your operations,

                   during the period of restoration . . . .

                   This actual or potential impairment of operations must be caused by or
                   result from direct physical loss or damage by a covered peril to property or
                   personal property of a dependent business premises at a dependent business
                   premises.

See id. at 6-7 of 15.

                   28.      The Policy also provides other coverages that cover MSA’s losses, such as

Ingress/Egress coverage. Id. at 4 of 15.

                   29.      To the extent that MSA has sustained any business income loss that did

not result from direct physical loss or damage, the Policy is amended by endorsement to include

Prohibition of Access Coverage as follows:

                   We will pay for the actual:

                        business income loss; or
                        extra expense

                   you incur due to the actual potential impairment of your operations, directly
                   caused by the prohibition of access to a premises shown in the Declarations
                   by a civil authority . . . .

                                                       6
                                                                                                Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 10 of 424




                   This prohibition of access must be the direct result of a peril (not otherwise
                   excluded by the Building And Personal Property Contract included in this
                   policy) that:

                   A. has occurred at or within 1,000 feet of such premises[.]

See Policy, Prohibition of Access Endorsement, Form 90-02-5357, at 3 of 6.

                   30.    Viruses such as SARS-CoV-2 are a peril insured against under the Policy.

                   31.    The Policy provides “all-risk” coverage and there is no exclusion for the

risks or perils of pandemic, virus, or communicable disease.

                   32.    The absence of any virus, pathogen, communicable disease or pandemic

exclusion in the Policy is telling. Chubb did not exclude coverage for such perils when it sold

MSA the Policy, despite the common use of such exclusions in the insurance industry following

the outbreaks of SARS, MERS, H1N1, and Zika. Chubb cannot add any such exclusion or

exclusionary interpretation now that MSA has suffered losses from the coronavirus pandemic.

                   B.     The Damage from SARS-CoV-2

                   33.    SARS-CoV-2 causes direct physical loss or damage to property.

                   34.    When SARS-CoV-2 impacts property, it renders the property dangerous

and potentially fatal.

                   35.    Property impacted by SARS-CoV-2 is, in practical effect, unusable for the

purpose of generating business income.

                   36.    Businesses generally buy insurance for their property and business income

to insure that their property functions and produces revenue. When property is impacted in a way

that renders it incapable of producing revenue – whether it is caused by a fire, or a flood, or toxic

fumes, or a virus – the loss or damage from any of these causes is the same.




                                                     7
                                                                                               Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 11 of 424




                   37.   A virus certainly causes “physical loss” or “physical damage” even though

it is invisible to the naked eye. Property impacted by SARS-CoV-2 is just as dangerous as property

impacted by fire or fumes (if not more so), and all such damaged property is equally incapable of

producing revenues. Like the impact of fire or smoke or noxious odors, the impact of a potentially

fatal virus constitutes “direct physical loss or damage to” property.

                   38.   In January 2020, the first known case of COVID-19, the infectious disease

caused by SARS-CoV-2 was reported in the United States.

                   39.   Officially declared a pandemic by the World Health Organization

(“WHO”) on March 11, 2020, the coronavirus pandemic has caused unfathomable sickness,

death, and economic distress around the world.

                   40.   SARS-CoV-2 is transmitted through both person-to-person contact and

contact by persons with fomites, which are surfaces of objects or materials on which SARS-CoV-

2 is present.

                   41.   Evidence increasingly indicates that SARS-CoV-2 also can travel through

the air through aerosol particles, or aerosols, which are produced continuously by normal breathing

and talking. Aerosols are fine water droplets suspended in air which can remain suspended for

hours until the force of gravity causes them to settle on surfaces.

                   42.   Aerosol production increases during respiratory illnesses and during louder

than normal oration.

                   43.   Aerosol transmission of SARS-CoV-2 is particularly concerning because

aerosolized SARS-CoV-2 can spread widely through air flow and settle on surfaces hundreds of

feet away from any infected individual.




                                                  8
                                                                                           Case ID: 201101371
docs-100321939.2
          Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 12 of 424




                   44.   Human contact with surfaces on which SARS-CoV-2 is present is known to

transmit the virus, making property impacted by SARS-CoV-2 very dangerous and potentially

fatal.

                   45.   Thus, aerosol transmission of SARS-CoV-2 could result in infection when

someone who is not even in the vicinity of an infected person unknowingly touches an infected

surface and then touches their face.

                   46.   The WHO explains that COVID-19 “spreads primarily from person to

person through small droplets from the nose or mouth, which are expelled when a person with

COVID-19 coughs, sneezes, or speaks . . . . People can catch COVID-19 if they breathe in these

droplets from a person infected with the virus.”1

                   47.   In addition to transmission by inter-personal contact, the WHO states that

viral “droplets can land on objects and surfaces around the person such as tables, doorknobs and

handrails. People can become infected by touching these objects or surfaces then touching their

eyes, nose, or mouth.”2

                   48.   The New England Journal of Medicine reported a scientific study conducted

by researchers from UCLA, Princeton University, the National Institute of Allergy and Infectious

Diseases, and the Centers for Disease Control and Prevention that analyzed the aerosol and surface

stability of SARS-CoV-2 and compared it with SARS-CoV-1, the most closely related human




1
 How does COVID-19 spread?, WORLD HEALTH ORGANIZATION, available at
https://www.who.int/emergencies/diseases/novel-coronavirus-2019/question-and-answers-hub/q-a-detail/q-a-
coronaviruses (last visited July 30, 2020).
2
    Id.


                                                      9
                                                                                                     Case ID: 201101371
docs-100321939.2
          Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 13 of 424




coronavirus. The study found that SARS-CoV-2 persisted on plastic and stainless steel surfaces

for up to seventy-two hours in laboratory studies.3

                   49.   Scientists also have studied the persistence of SARS-CoV-2 on surfaces in

cruise ships with documented outbreaks of COVID-19. One such study, reported by the Centers

for Disease Control and Prevention (the “CDC”) on March 23, 2020, found that SARS-CoV-2 was

present in the cabins of a Diamond Princess cruise ship seventeen days after it had been vacated,

but before it had been disinfected.4

                   50.   According to a study published in April 2020 in the CDC’s Emerging

Infectious Diseases Journal on aerosol and surface distribution of SARS- CoV-2 in hospital wards,

SARS-CoV-2 can travel up to 13 feet in the air.5

                   51.   That same study reported that fifty percent of the samples from the medical

staff’s shoes tested positive, suggesting that shoes might function as carriers: “In addition, as

medical staff walk around the ward, the virus can be tracked all over the floor, as indicated by the

100% rate of positivity from the floor in the pharmacy, where there were no patients.”6




3
 Neeltje van Doremalen, et al., Aerosol and Surface Stability of SARS-CoV-2 as Compared with SARS-CoV-1, N.
ENGL. J. MED. (March 17, 2020), available at https://www.nejm.org/doi/full/10.1056/NEJMc2004973.
4
 Leah F. Moriarty, et al., Public Health Responses to COVID-19 Outbreaks on Cruise Ships — Worldwide,
February–March 2020, CDC Morbidity and Mortality Weekly Report (Mar. 27, 2020), available at
https://www.cdc.gov/mmwr/volumes/69/wr/mm6912e3.htm.
5
 Zhen-Dong Guo, et al., Aerosol and Surface Distribution of Severe Acute Respiratory Syndrome Coronavirus 2 in
Hospital Wards, Wuhan, China, 2020, Centers for Disease Control and Prevention – Emerging Infectious Diseases
(Vol. 26-7 July 2020), https://wwwnc.cdc.gov/eid/article/26/7/20-0885_article (last updated Apr. 10, 2020)
6
    Id.


                                                      10
                                                                                                     Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 14 of 424




                   52.    Another recent study conducted in Wuhan indicates that staff movement,

floor cleaning, and the removal of personal protective equipment can cause the resuspension of

SARS-CoV-2 aerosols.7

                   53.    A study published in June 2020 in the CDC’s Emerging Infectious Diseases

Journal assessed the persistence of SARS-CoV-2 in aerosol suspensions by comparing its

efficiency with SARS-CoV and Middle East respiratory syndrome coronavirus (“MERS-CoV”).8

The scientists determined that the short-term aerosol efficiency of SARS-CoV-2 surpassed those

of SARS-CoV and MERS-CoV: “SARS-CoV-2–infected persons may produce viral bioaerosols

that remain infectious for long periods after production through human shedding and airborne

transport.” Additionally, the report asserted that “these preliminary data suggest that SARS-CoV-

2 is resilient in aerosol form.”

                   54.    There have been hundreds of thousands of confirmed cases of COVID-19

in proximity to the Properties, and the number of cases and geographic presence of SARS-CoV-2

continues to grow and spread.

                   55.    Currently, the number of confirmed cases of COVID-19 nationwide is

nearly 10 million, with over 475,000 cases confirmed in Pennsylvania and New Jersey alone as of

the date of this filing. With the COVID-19 vaccination still in clinical development, the number

of cases continues to rise.

                   56.    As has been widely reported and acknowledged by civil and government

authorities, there are even larger numbers of infected people that have not been counted as


7
 Yuan Liu, Ph.D., et al., Aerodynamic Characteristics and RNA Concentration of SARS-CoV-2 Aerosol in Wuhan
Hospitals during COVID-19 Outbreak, https://www.biorxiv.org/content/10.1101/2020.03.08.982637v1.full.pdf (last
updated Mar. 10, 2020).
8
 Alyssa C. Fears, et al. Persistence of Severe Acute Respiratory Syndrome Coronavirus 2 in Aerosol Suspensions,
Centers for Disease Control and Prevention – Emerging Infectious Diseases (Vol. 26-9 Sept. 2020),
https://wwwnc.cdc.gov/eid/article/26/9/20-1806_article (last updated June 22, 2020).


                                                       11
                                                                                                       Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 15 of 424




“confirmed” cases due, in part, to the at-times asymptomatic nature of some COVID-19 carriers

and a lack of widespread testing.

                   57.   Accordingly, the loss and damage to property from SARS-CoV-2 is

ubiquitous and widespread across the United States.

                   C.    Orders of Civil Authorities in Connection with the Coronavirus
                         Pandemic

                   58.   There have been hundreds, if not thousands, of orders of civil authority

across the United States as a result of the coronavirus outbreak, including orders by federal, state,

county, and municipal officials deeming a limited number of businesses to be “essential”; requiring

the closure of non-essential businesses; directing individuals to “shelter in place,” stay in their

homes, and not travel except to receive medical care or buy groceries or other necessities for living;

and restricting or limiting entry into the United States (the “Orders”).

                   59.   On March 6, 2020, following confirmed cases of COVID-19 in the

Commonwealth of Pennsylvania, Governor Tom Wolf declared the existence of a disaster

emergency. See Ex. 2.

                   60.   On March 9, 2020, following confirmed cases of COVID-19 in the State of

New Jersey, Governor Philip D. Murphy declared a state of emergency. See Ex. 3.

                   61.   On March 13, 2020, the President of the United States proclaimed a national

emergency. See Ex. 4.

                   62.   Following these initial state of emergency declarations, states nationwide

also issued statewide stay-at-home orders, which mandated the closure of all non-essential

business and required residents to stay at home with very limited exceptions. For example:




                                                  12
                                                                                            Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 16 of 424




                         (a)          On March 23, 2020, the state of Pennsylvania entered a stay-at-

                                      home order placing restrictions on business activity allowing only

                                      life-sustaining establishments to remain open. See Ex. 5.

                         (b)          On March 21, 2020, the State of New Jersey issued Executive

                                      Order No. 107 (2020) closing all non-essential businesses and

                                      ordering “All New Jersey residents shall remain home or at their

                                      place of residence unless they are” performing a limited set of

                                      activities, like buying groceries or seeking medical attention. See

                                      Ex. 6 at ¶ 2.

                   63.         Since these executives orders were issued, and as COVID-19 continues to

spread, both states have continued to amend, extend, and issue new orders limiting business

operations in each state.

                   64.         State, local, and municipal authorities throughout the country have

specifically recognized that the Orders were issued in part because of the damage SARS-CoV-2

causes to property. For example:

                         (a)          On March 19, 2020, Los Angeles Mayor Garcetti issued a shutdown

                                      order, explaining “This Order is given because, among other

                                      reasons, the COVID-19 virus can spread easily from person to

                                      person and it is physically causing property loss or damage due to

                                      its tendency to attach to surfaces for prolonged periods of time.” Ex.

                                      7 (emphasis added). The Order advised that “City residents must

                                      isolate themselves in their residences, subject to certain

                                      exceptions[.]”



                                                        13
                                                                                                  Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 17 of 424




                   (b)   On April 1, 2020, in a supplement to a mayoral proclamation, the

                         Mayor of the City of San Francisco extended coronavirus-related

                         orders, including the stay-at-home order “requiring most people to

                         remain in their homes subject to certain exceptions including

                         obtaining essential goods such as food and necessary supplies, and

                         requiring the closure of nonessential businesses.” The supplemental

                         Order declared “This order and the previous orders issued during

                         this emergency have all been issued because of the propensity of the

                         virus to spread person to person and also because the virus

                         physically is causing property loss or damage due to its proclivity to

                         attach to surfaces for prolonged periods of time[.]” Ex. 8 (emphasis

                         added).

                   (c)   On March 7, 2020, the Governor of New York issued Executive

                         Order No. 202 declaring a State of Emergency based on his authority

                         to act to “to protect state and local property, and to provide such

                         other assistance as is necessary to protect public health, welfare, and

                         safety.” Ex. 9. That Order was extended and amended on March

                         22, 2020 to close in-office operations at non-essential businesses.

                   (d)   On March 16, 2020, the Mayor of New York City issued an

                         emergency executive order declaring a state of emergency, stating:

                         “this order is given because of the propensity of the virus to spread

                         person to person and also because the virus physically is causing

                         property loss and damage[.]” Ex. 10 (emphasis added).



                                           14
                                                                                      Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 18 of 424




                   (e)   On March 16, 2020, the Mayor of the City of New Orleans issued

                         an emergency order suspending non-emergency gatherings and

                         closing certain categories of businesses, stating “there is reason to

                         believe that COVID-19 may be spread amongst the population by

                         various means of exposure, including the propensity to spread

                         person to person and the propensity to attach to surfaces for

                         prolonged periods of time, thereby spreading from surface to person

                         and causing property loss and damage in certain circumstances[.]”

                         Ex. 11 (emphasis added). That Order canceled all private and public

                         gatherings and mandated the closure of gyms, entertainment venues,

                         shopping malls, and eat-in dining.

                   (f)   On April 6, 2020, the Governor of Colorado extended that state’s

                         shutdown order, acknowledging “COVID-19 also physically

                         contributes to property loss, contamination, and damage due to its

                         propensity to attach to surfaces for prolonged periods of time.

                         Ex. 12 (emphasis added).

                   (g)   On April 23, 2020, a Dallas County Judge issued an amended “Safer

                         at Home Order” that states, “this Emergency Order is necessary

                         because of the propensity of the virus to spread person to person and

                         also because the virus is physically causing property damage due to

                         its proclivity to attach to surfaces for prolonged periods of time . . .

                         All individuals currently living within Dallas County are ordered to

                         shelter at their place of residence[.]” Ex. 13 (emphasis added).



                                           15
                                                                                       Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 19 of 424




                   65.   The Orders were issued as a result of direct physical loss or damage to

property away from the Properties or dependent business premises by a covered peril.

                   66.   The Orders prohibited access to the Properties and dependent business

premises.

                   D.    MSA’s Business Income Losses

                   67.   MSA has suffered actual business income losses insured under the Policy.

                   68.   MSA operates a Spanish-speaking radio station serving the Hispanic

community in the Philadelphia metropolitan area.

                   69.   Operating the radio station requires specialized equipment and staff to be

present at the broadcasting stations insured under the Policy.

                   70.   MSA purchased a specialized broadcasting policy from Chubb that covers,

among other things, business income losses when a civil authority prohibits access to the insured

locations.

                   71.   In March 2020, MSA was prohibited from entering the radio station by the

aforementioned Orders issued in Pennsylvania and New Jersey to address COVID-19.

                   72.   The COVID-19 pandemic and the related Orders have interrupted MSA’s

business operations at the Properties since March of 2020 by, among other things, prohibiting

access to the Properties, thereby disrupting all aspects of the radio station’s operations.

                   E.    MSA’s Insurance Claim

                   73.   MSA timely provided notice to Chubb that it was submitting a claim in

connection with losses stemming from SARS-CoV-2 (the “Claim”).

                   74.   On April 30, 2020, Chubb sent MSA a Reservation of Rights letter

(“ROR”) acknowledging receipt of the Potential Loss Letter. Chubb stated that it was



                                                  16
                                                                                              Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 20 of 424




undertaking an ongoing investigation subject to a full reservation of its rights and defenses of the

Policy, and baselessly asserted that there was no coverage under the Policy.

                   75.   Dissatisfied with Chubb’s complete lack of substantive reasoning as to

their wrongful conclusion that the Policy did not provide coverage, MSA responded to the ROR

on May 8, 2020, explaining, among other things, that the Policy is categorically different from

most other commercial property insurance policies because it does not contain a virus exclusion

and that the Chubb’s continued delay in processing the Claim was exacerbating MSA’s losses.

                   76.   MSA also expressed that it was willing to submit a proof of loss and any

additional information required to assist Chubb in making a coverage determination.

                   77.   MSA made repeated requests that Chubb provide the proper Claim Form

in order that MSA could submit its Claim.

                   78.   Chubb did not acknowledge or reply to these requests.

                   79.   On June 12, 2020, Chubb sent MSA a coverage position letter finding no

coverage under the Policy.

                   80.   The coverage position letter also stated that it was meant to “only

address[] those provisions that appear[ed] pertinent at [that] time in light of the facts currently

known to [Chubb],” and invited MSA to submit additional information.

                   81.   On June 19, 2020, after MSA’s repeated failed attempts to procure a claim

form from Chubb, MSA submitted additional information to Chubb, via counsel, including a

Claim Form obtained from Chubb’s website, and other information regarding losses.

                   82.   On July 14, 2020, after another month of radio silence, Chubb sent MSA a

receipt confirmation of the June 19 email noting (rather confusingly) that “Chubb [did] not

accept, nor reject, the Claim form and attachments” and was “in the process of reviewing it.”



                                                  17
                                                                                               Case ID: 201101371
docs-100321939.2
         Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 21 of 424




                   83.   The very next day, MSA’s counsel acknowledged receipt of the

confirmation letter and asked Chubb to inform MSA of any additional information it may need to

make a determination.

                   84.   On September 23, 2020, Mr. Jerry Rudoshko (“Mr. Rudoshko”), Senior

General Adjuster for Vigilant Insurance Company, responded to MSA’s June 19, 2020

communication on behalf of Chubb and stated that he had reviewed the additional information

and arguments presented, and that the “coverage position remains unchanged.”

                   85.   In this letter, Mr. Rudoshko also stated that MSA used an incorrect claim

form—which form had been submitted three months prior, after a total lack of response from

Chubb regarding MSA’s request for a Claim Form, and which Chubb failed to correct at the time

of submission.

                   86.   On the same day, MSA’s counsel responded to Mr. Rudoshko by email,

expressing its doubt as to whether a denial was made and stating that all necessary claim

information was contained in the Claim Form submitted.

                   87.   On October 2, 2020, Mr. Rudoshko responded to “reconfirm [Chubb’s]

denial as outlined in our June 12, 2020 letter and again reconfirmed in our September 23, 2020

letter,” noting that Chubb was “not just rejecting the claim form [] submitted,” but denying the

claim.

                   88.   From the start, MSA has promptly responded, submitted additional

information, and offered to submit even more information where needed. In contrast, Chubb has

refused to acknowledge coverage under the clear terms of the Policy, and has refused to timely

and thoroughly analyze and handle MSA’s losses under the Policy.




                                                 18
                                                                                            Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 22 of 424




                   89.   MSA’s diligent attempts to obtain coverage for its losses under the Policy

have been met at every turn by Chubb’s obstinate refusal to cooperate and communicate with

MSA and delayed review of MSA’s Claim.

                   90.   The few communications from Chubb have been vague and fail to address

MSA’s concerns and very real losses.

                   91.   In fact, Chubb did not make clear that it had actually denied the Claim

until October 2, 2020.

                   92.   At this time, Chubb’s avoidance of MSA’s claim has resulted in a spiral of

losses from which MSA may never financially recover.

                   F.    Chubb’s Handling of Similar Claims

                   93.   As COVID-19 continues to spread, policyholders continue to submit

claims to insurance companies to recover business income losses under their policies’ business

interruption coverage, leading to the filing of hundreds of insurance coverage lawsuits within the

last several months.

                   94.   Not surprisingly, Chubb has been sued by its policyholders for denying

coverage under policies that provide coverage for COVID-19-related business income losses.

Currently, a class action is pending in the United States District Court for the District of New

Jersey (the “Chubb Class Action”) which alleges that Chubb has breached its policy contracts

and seeks declaratory judgment that the Civil Authority and Extra Expense coverages apply to

the policyholder plaintiffs’ losses. See Truhaven Enterprises, Inc. v. Chubb Ltd., No. 2:20-cv-

04586-SRC-CLW (D.N.J. filed Apr. 20, 2020).

                   95.   The underlying claims in the Chubb Class Action are similar to MSA’s

claims in this Action.



                                                  19
                                                                                           Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 23 of 424




                   96.    Significantly, MSA’s claims against Chubb in this Action are even more

robust because, unlike 80% of all property policies in the market at this time – including the

policy involved in the Chubb Class Action – MSA’s Policy does not contain a virus exclusion.

See id. at ¶ 40 (stating “Plaintiff’s Policy includes an endorsement Exclusion of Loss Due To

Virus or Bacteria, Commercial Property form CP 01 40 07 07”); see also Ex. 1, Policy (showing

no virus exclusion).

                            COUNT I - DECLARATORY JUDGMENT

                   97.    MSA repeats and realleges the allegations set forth in the foregoing

paragraphs as though fully set forth herein.

                   98.    An actual and justiciable controversy has arisen between MSA and Chubb

as to Chubb’s obligation to assume its obligations to pay MSA for the covered damages it has

incurred and will incur due to its business interruption loss.

                   99.    MSA and Chubb dispute whether the Policy covers the loss, or whether an

exclusion applies to prohibit coverage.

                   100.   Resolution of these controversies will establish MSA’s right to payment

from Chubb.

                   101.   To date, Chubb has failed to provide any payment to MSA for its

damages.

                   102.   By reason of the foregoing, an actual, substantial, and justiciable

controversy exists between MSA and Chubb, and a judicial declaration is necessary and

appropriate so that the parties may ascertain their respective rights and obligations.

                   103.   MSA seeks a declaration that Chubb must indemnify Plaintiffs under the

terms of the Policy.



                                                   20
                                                                                                Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 24 of 424




        WHEREFORE, MSA prays for a determination by this Court in favor of MSA declaring

that Chubb must indemnify MSA under the terms of the Policy, and must pay MSA for its

attorneys’ fees and costs, and any other and further relief as the Court deems just and proper.

                              COUNT II - BREACH OF CONTRACT

                   104.   MSA repeats and realleges the allegations set forth in the foregoing

paragraphs as though fully set forth herein.

                   105.   The Policy constituted a legal contract binding MSA and Chubb.

                   106.   The Policy provided coverage for the types of business income losses that

MSA suffered and the exclusions did not preclude coverage.

                   107.   At all times, MSA carried out its duties under the terms of that contract.

                   108.   However, Defendant breached its obligations when it failed to cover

MSA’s losses as promised by the Policy.

                   109.   As a result, MSA has suffered significant damages.

        WHEREFORE, MSA hereby demands judgment against Chubb for the following relief:

                   (a)    compensatory damages well in excess of at least $399,000.00;

                   (b)    consequential damages;

                   (c)    prejudgment interest thereon; and,

                   (d)    such other and further relief that the Court deems equitable and just under
                          circumstances.

                             COUNT III - STATUTORY BAD FAITH

                   110.   MSA repeats and realleges the allegations set forth in the foregoing

paragraphs as though fully set forth herein.

                   111.   42 Pa. Cons. Stat. § 8371 provides as follows: “In an action arising under

an insurance policy, if the court finds that the insurer has acted in bad faith toward the insured,



                                                   21
                                                                                              Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 25 of 424




the court may take all of the following actions: (1) Award interest on the amount of the claim

from the date the claim was made by the insured in an amount equal to the prime rate of interest

plus 3%. (2) Award punitive damages against the insurer. (3) Assess court costs and attorney

fees against the insurer.” 42 Pa. Cons. Stat. § 8371.

                   112.   The relationship between Chubb and MSA is a fiduciary relationship

requiring Chubb to act in the best interest of MSA as insured under the Policy.

                   113.   The conduct of Chubb in failing to recognize and pay under the business

interruption portion of the policy for its income losses, especially when the Policy did not

contain any exclusions that clearly hindered coverage, and then failing to address losses quickly,

lingering in making a final decision, sending mixed messages about the denial, failing to provide

a proper claim form when requested, and failing to accommodate MSA’s losses under the policy

by casting doubt about coverage before even a full investigation of the law and facts necessary to

make such decision, constitute bad faith under 42 Pa. Cons. Stat. § 8371.

                   114.   Chubb did not have a reasonable basis for denying coverage as the Policy

clearly provided coverage for the type of losses that MSA claimed and for the reasons requested,

which are more fully set out above, and there were no applicable exclusions that would have

precluded coverage as claimed by Chubb.

                   115.   However, in conscious or reckless disregard of the law and its duty to

MSA, Chubb arbitrarily, in bad faith and in violation of its public duty, refused to provide

coverage to MSA.

                   116.   Chubb’s conduct as set forth here is prohibited under 42 Pa. Cons. Stat.

§ 8371.




                                                   22
                                                                                            Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 26 of 424




                   117.   By virtue of Chubb’s bad faith, and breach of its fiduciary and statutory

duties, MSA claims punitive damages including but not limited to those provided pursuant to 42

Pa. Cons. Stat. § 8371.

        WHEREFORE, MSA hereby demands judgment against Chubb for the following relief:

                   (a)    punitive damages;

                   (b)    prejudgment interest;

                   (c)    attorney fees and costs; and,

                   (d)    such other and further relief that the Court deems equitable and just under
                          circumstances.


                   COUNT IV - BREACH OF THE IMPLIED COVENANT OF
                           GOOD FAITH AND FAIR DEALING

                   118.   MSA repeats and realleges the allegations set forth in the foregoing

paragraphs as though fully set forth herein.

                   119.   The Policy constitutes a valid contract of insurance coverage between

MSA and Chubb.

                   120.   Chubb had a contractual obligation to treat MSA fairly and in good faith

with respect to its interests in the proceeds of the Policy.

                   121.   Chubb breached its implied covenant to deal with MSA in good faith by,

among other things:

                          a.   Intentionally or recklessly failing to treat MSA and its interests in the

                               proceeds of the Policy fairly;

                          b.   Intentionally or recklessly placing its own interests over and to the

                               detriment of Plaintiffs’ interests, including but not limited to denying




                                                   23
                                                                                              Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 27 of 424




                                coverage before adequately investigating, adjusting and paying

                                MSA’s claim;

                          c.    Unreasonably conducting an investigation and adjustment of the

                                claim despite possessing necessary documentary information; and

                          d.    Failing to provide to MSA an adequate explanation of the basis for

                                Chubb’s refusal to pay MSA’s claim despite the evidence

                                demonstrating coverage.

                   122.   As a result of its breaches of the implied covenant of good faith and fair

dealing, Chubb is liable to MSA for damages for all losses incurred to date by MSA or that may

be incurred up to the applicable limits under the Policy, together with consequential damages,

costs and disbursements of this action, including but not limited to reasonable attorneys’ fees and

costs, and pre-judgment and post-judgment interest.

        WHEREFORE, MSA prays for a determination by this Court in its favor awarding

MSA damages for all losses incurred to date by MSA, or which may be incurred up to the

applicable limits under the Policy, together with consequential damages, costs and disbursements

of this action, including but not limited to pre-judgment and post-judgment interest, reasonable

attorneys’ fees and costs, and any other and further relief as the Court deems just and proper.

                                       PRAYER FOR RELIEF

        WHEREFORE, MSA respectfully request that judgment be entered against Chubb and

relief be granted as follows:

                   (a)    compensatory damages in excess of $399,000.00;

                   (b)    consequential damages;

                   (c)    punitive damages;

                   (d)    prejudgment interest;

                                                   24
                                                                                              Case ID: 201101371
docs-100321939.2
        Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 28 of 424




                   (e)   attorney fees and costs; and,

                   (f)   such other and further relief that the Court deems equitable and just under
                         circumstances.

                                   DEMAND FOR JURY TRIAL

        MSA hereby demands a trial by jury on all claims so triable.


Dated: November 13, 2020                          ANDERSON KILL P.C.

                                                  By:     /s/ Arthur R. Armstrong
                                                         Arthur R. Armstrong, Esq.
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                                                         Philadelphia, PA 19103
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                                                  25
                                                                                            Case ID: 201101371
docs-100321939.2
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 29 of 424




                                                    Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 30 of 424




                                                  Filed and Attested by the
                                                 Office of Judicial Records
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                                                           M. BRYANT




           EXHIBIT 1




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 31 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 32 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 33 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 34 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 35 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 36 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 37 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 38 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 39 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 40 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 41 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 42 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 43 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 44 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 45 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 46 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 47 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 48 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 49 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 50 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 51 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 52 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 53 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 54 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 55 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 56 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 57 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 58 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 59 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 60 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 61 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 62 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 63 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 64 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 65 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 66 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 67 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 68 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 69 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 70 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 71 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 72 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 73 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 74 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 75 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 76 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 77 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 78 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 79 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 80 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 81 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 82 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 83 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 84 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 85 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 86 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 87 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 88 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 89 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 90 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 91 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 92 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 93 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 94 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 95 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 96 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 97 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 98 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 99 of 424




                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 100 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 101 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 102 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 103 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 104 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 105 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 106 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 107 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 108 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 109 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 110 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 111 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 112 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 113 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 114 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 115 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 116 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 117 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 118 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 119 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 120 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 121 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 122 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 123 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 124 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 125 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 126 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 127 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 128 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 129 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 130 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 131 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 132 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 133 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 134 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 135 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 136 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 137 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 138 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 139 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 140 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 141 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 142 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 143 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 144 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 145 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 146 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 147 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 148 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 149 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 150 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 151 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 152 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 153 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 154 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 155 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 156 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 157 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 158 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 159 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 160 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 161 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 162 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 163 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 164 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 165 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 166 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 167 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 168 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 169 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 170 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 171 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 172 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 173 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 174 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 175 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 176 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 177 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 178 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 179 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 180 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 181 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 182 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 183 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 184 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 185 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 186 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 187 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 188 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 189 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 190 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 191 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 192 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 193 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 194 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 195 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 196 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 197 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 198 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 199 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 200 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 201 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 202 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 203 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 204 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 205 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 206 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 207 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 208 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 209 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 210 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 211 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 212 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 213 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 214 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 215 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 216 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 217 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 218 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 219 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 220 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 221 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 222 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 223 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 224 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 225 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 226 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 227 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 228 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 229 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 230 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 231 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 232 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 233 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 234 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 235 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 236 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 237 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 238 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 239 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 240 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 241 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 242 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 243 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 244 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 245 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 246 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 247 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 248 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 249 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 250 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 251 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 252 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 253 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 254 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 255 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 256 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 257 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 258 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 259 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 260 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 261 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 262 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 263 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 264 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 265 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 266 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 267 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 268 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 269 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 270 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 271 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 272 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 273 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 274 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 275 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 276 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 277 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 278 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 279 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 280 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 281 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 282 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 283 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 284 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 285 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 286 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 287 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 288 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 289 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 290 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 291 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 292 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 293 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 294 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 295 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 296 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 297 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 298 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 299 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 300 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 301 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 302 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 303 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 304 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 305 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 306 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 307 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 308 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 309 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 310 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 311 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 312 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 313 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 314 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 315 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 316 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 317 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 318 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 319 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 320 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 321 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 322 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 323 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 324 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 325 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 326 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 327 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 328 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 329 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 330 of 424




                                                   Filed and Attested by the
                                                  Office of Judicial Records
                                                      14 NOV 2020 05:06 pm
                                                            M. BRYANT




           EXHIBIT 2




                                                                Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 331 of 424




                                  COMMONWEALTH OF PENNSYLVANIA
                                      OFFICE OF THE GOVERNOR


                      PROCLAMATION OF DISASTER EMERGENCY

                                         March 6, 2020

       WHEREAS, a novel coronavirus (now known as “COVID-19”) emerged in Wuhan,
China, began infecting humans in December 2019, and has since spread to 89 countries,
including the United States; and

       WHEREAS, the World Health Organization and the Centers for Disease Control and
Prevention (“CDC”) have declared COVID-19 a “public health emergency of international
concern,” and the U.S. Department of Health and Human Services (“HHS”) Secretary has
declared that COVID-19 creates a public health emergency; and

        WHEREAS, the Commonwealth of Pennsylvania (“Commonwealth”) has been working
in collaboration with the CDC, HHS, and local health agencies since December 2019 to monitor
and plan for the containment and subsequent mitigation of COVID-19; and

       WHEREAS, on February 1, 2020, the Commonwealth’s Department of Health activated
its Department Operations Center at the Pennsylvania Emergency Management Agency’s
headquarters to conduct public health and medical coordination for COVID-19 throughout the
Commonwealth; and

        WHEREAS, on March 4, 2020, the Director of the Pennsylvania Emergency
Management Agency ordered the activation of its Commonwealth Response Coordination
Center in support of the Department of Health’s Department Operations Center, to maintain
situational awareness and coordinate the response to any potential COVID-19 impacts across
the Commonwealth; and

      WHEREAS, as of March 6, 2020, there are 233 confirmed and/or presumed positive
cases of COVID-19 in the United States, including 2 presumed positive cases in the
Commonwealth; and

        WHEREAS, while it is anticipated that a high percentage of those affected by COVID-
19 will experience mild influenza-like symptoms, COVID-19 is a disease capable of causing
severe symptoms or loss of life, particularly to older populations and those individuals with pre-
existing conditions; and

      WHEREAS, it is critical to prepare for and respond to suspected or confirmed cases in
the Commonwealth and to implement measures to mitigate the spread of COVID-19; and

       WHEREAS, with 2 presumed positive cases in the Commonwealth as of March 6, 2020,
the possible increased threat from COVID-19 constitutes a threat of imminent disaster to the
health of the citizens of the Commonwealth; and

        WHEREAS, this threat of imminent disaster and emergency has the potential to cause
significant adverse impacts upon the population throughout the Commonwealth; and

       WHEREAS, this threat of imminent disaster and emergency has already caused schools
to close, and will likely prompt additional local measures, including affected county and
municipal governments to declare local disaster emergencies because of COVID-19; and




                                                                                         Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 332 of 424




      WHEREAS, this threat of imminent disaster and emergency situation throughout the
Commonwealth is of such magnitude and severity as to render essential the Commonwealth’s
supplementation of emergency resources and mutual aid to the county and municipal
governments of this Commonwealth and to require the activation of all applicable state, county,
and municipal emergency response plans.

        NOW THEREFORE, pursuant to the provisions of Subsection 7301(c) of the Emergency
Management Services Code, 35 Pa. C.S. § 7101, et seq., I do hereby proclaim the existence of a
disaster emergency throughout the Commonwealth.

       FURTHER, I hereby authorize the Pennsylvania Emergency Management Agency
Director or his designee, to assume command and control of all statewide emergency operations
and authorize and direct that all Commonwealth departments and agencies utilize all available
resources and personnel as is deemed necessary to cope with this emergency situation.

        FURTHER, I hereby transfer up to $5,000,000 in unused appropriated funds to the
Pennsylvania Emergency Management Agency for Emergency Management Assistance
Compact expenses related to this emergency, to be decreased as conditions require, pursuant to
the provisions of section 7604(a) of the Emergency Management Services Code, 35 Pa. C.S. §
7604(a). In addition, I hereby transfer up to $20,000,000 in unused appropriated funds, to be
decreased as conditions require, to the Pennsylvania Emergency Management Agency pursuant
to section 1508 of the Act of April 9, 1929 (P.L.343, No. 176) (the Fiscal Code), 72 P.S. § 1508.
The aforementioned funds shall be used for expenses authorized and incurred related to this
emergency. These funds shall be credited to a special account established by the Office of the
Budget. I hereby direct that any funds transferred herein that remain unused after all costs
related to this emergency have been satisfied shall be returned to the General Fund.

        FURTHER, All Commonwealth agencies purchasing supplies or services in response to
this emergency are authorized to utilize emergency procurement procedures set forth in Section
516 of the Commonwealth Procurement Code, 62 Pa. C.S. § 516. This Proclamation shall serve
as the written determination of the basis for the emergency under Section 516.

       FURTHER, I hereby suspend the provisions of any regulatory statute prescribing the
procedures for conduct of Commonwealth business, or the orders, rules or regulations of any
Commonwealth agency, if strict compliance with the provisions of any statute, order, rule or
regulation would in any way prevent, hinder, or delay necessary action in coping with this
emergency. Commonwealth agencies may implement emergency assignments without regard to
procedures required by other laws, except mandatory constitutional requirements, pertaining to
performance of public work, entering into contracts, incurring of obligations, employment of
temporary workers, rental of equipment, purchase of supplies and materials, and expenditures
of public funds.

       FURTHER, pursuant to the powers vested in me by the Constitution and laws of the
Commonwealth pursuant to 51 Pa. C.S. § 508, I hereby authorize the Adjutant General of
Pennsylvania to place on state active duty for the duration of the emergency disaster
proclamation, such individuals and units of the Pennsylvania National Guard, for missions
designated by the Pennsylvania Emergency Management Agency, as are needed to address the
consequences of the aforementioned emergency.

       FURTHER, I authorize the Commissioner of the Pennsylvania State Police to use all
available resources and personnel in whatever manner he deems necessary during this
emergency to assist the actions of the Pennsylvania Emergency Management Agency in
addressing the consequences of the emergency.

       FURTHER, I hereby authorize the Secretary of the Pennsylvania Department of Health,
in her sole discretion, to suspend or waive any provision of law or regulation which the
Pennsylvania Department of Health is authorized by law to administer or enforce, for such
length of time as may be necessary to respond to this emergency.




                                                                                        Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 333 of 424




       FURTHER, I hereby authorize the Secretary of the Pennsylvania Department of
Education, in his sole discretion, to suspend or waive any provision of law or regulation which
the Pennsylvania Department of Education is authorized by law to administer or enforce, for
such length of time as may be necessary to respond to this emergency.

        FURTHER, if investigations made on my behalf determine that the Commonwealth
needs greater flexibility in the application of state and federal motor carrier regulations to
accommodate truck drivers involved in emergency activities during this emergency, I hereby
direct the Commonwealth Department of Transportation to waive or suspend any laws or federal
or state regulations related to the drivers of commercial vehicles.

        FURTHER, I hereby direct that the applicable emergency response and recovery plans
of the Commonwealth, counties, municipalities and other entities be activated as necessary and
that actions taken to implement those plans be coordinated through the Pennsylvania
Emergency Management Agency.

        STILL FURTHER, I hereby urge the governing bodies and executive officers of all
political subdivisions affected by this emergency to act as necessary to meet the current
exigencies as legally authorized under this Proclamation, namely, by the employment of
temporary workers, by the rental of equipment, and by entering into such contracts and
agreements as may be required to meet the emergency, all without regard to those time
consuming procedures and formalities normally prescribed by law, mandatory constitutional
requirement excepted.

                                           GIVEN under my hand and the Seal of the
                                           Governor, at the City of Harrisburg, this
                                           sixth day of March in the year of our Lord two
                                           thousand twenty, and of the Commonwealth the two
                                           hundred and forty fourth.



                                          TOM WOLF
                                          Governor




                                                                                      Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 334 of 424




                                                   Filed and Attested by the
                                                  Office of Judicial Records
                                                      14 NOV 2020 05:06 pm
                                                            M. BRYANT




           EXHIBIT 3




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 335 of 424


                          EXECUTIVE ORDER NO. 103


        WHEREAS,   Coronavirus      disease      2019    (“COVID-19”)      is   a

   contagious, and at times fatal, respiratory disease caused by the

   SARS-CoV-2 virus; and

        WHEREAS,   COVID-19   is     responsible        for   the   2019   novel

   coronavirus outbreak, which was first identified in Wuhan, the

   People’s Republic of China in December 2019 and quickly spread to

   the Hubei Province and multiple other countries; and

        WHEREAS, symptoms of the COVID-19 illness include fever,

   cough, and shortness of breath, which may appear in as few as two

   or as long as 14 days after exposure, and can spread from person

   to person via respiratory droplets produced when an infected person

   coughs or sneezes; and

        WHEREAS,   on   January    30,   2020,   the     International     Health

   Regulations Emergency Committee of the World Health Organization

   declared the outbreak a “public health emergency of international

   concern,” which means “an extraordinary event which is determined

   to constitute a public health risk to other States through the

   international spread of disease and to potentially require a

   coordinated international response,” and thereafter raised its

   global risk assessment of COVID-19 from “high” to “very high”; and

        WHEREAS, on January 31, 2020, the United States Department of

   Health and Human Services Secretary declared a public health

   emergency for the United States to aid the nation’s healthcare

   community in responding to COVID-19; and

        WHEREAS, as of March 9, 2020, according to the Centers for

   Disease Control and Prevention (“CDC”), there were more than

   114,000 confirmed cases of COVID-19 worldwide, with over 4,000 of

   those cases having resulted in death; and

        WHEREAS, as of March 9, 2020, there were more than 500

   confirmed cases of COVID-19 in the United States, with 22 of those

   cases having resulted in death; and

                                                                                    Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 336 of 424
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        WHEREAS, as of March 9, 2020, there were 11 presumed positive

   cases of COVID-19 in New Jersey, with 24 additional “Persons Under

   Investigation”     spread   across    the      counties     of    Bergen,     Camden,

   Cumberland, Essex, Hunterdon, Middlesex, Monmouth, Passaic, Union,

   and Sussex; and

        WHEREAS, as of March 9, 2020, there were 142 positive cases

   of COVID-19 in the State of New York and seven presumptive positive

   cases in the Commonwealth of Pennsylvania; and

        WHEREAS, the CDC expects that additional cases of COVID-19

   will be identified in the coming days, including more cases in the

   United States, and that person-to-person spread is likely to

   continue to occur; and

        WHEREAS,      if   COVID-19    spreads      in   New   Jersey       at    a    rate

   comparable to the rate of spread in other affected areas, it will

   greatly   strain    the   resources    and      capabilities       of    county     and

   municipal governments, including public health agencies, that

   provide   essential     services    for       containing    and    mitigating        the

   spread of contagious diseases, such as COVID-19, and the situation

   may become too large in scope to be handled in its entirety by the

   normal county and municipal operating services in some parts of

   this State, and this situation may spread to other parts of the

   State; and

        WHEREAS, the spread of COVID-19 may make it difficult or

   impossible   for    citizens   to     obtain      consumer       goods   and       other

   necessities of life due to supply chain disruption and price

   increases, as well as hamper the delivery of essential services

   such as police, fire, and first aid; and

        WHEREAS, the State’s public bidding act, N.J.S.A. 52:34-6 et

   seq., provides a public exigency exemption, N.J.S.A. 52:34-10(b),

   that in the event of a threat to the life, health, or safety to

   the public, advertised bidding is not required to obtain those


                                                                                             Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 337 of 424
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   goods and services necessary to address the public exigency where

   the Division of Purchase of Property provides preapproval in

   accordance with Treasury Circular 18-14-DPP; and

        WHEREAS, in the event of a declared emergency pursuant to

   Treasury   Circular         19-10-DPP,       the   threshold     for     delegated

   purchasing by individual State Departments is raised to $100,000

   such that purchases at or below that amount do not require prior

   approval or action by DPP; and

        WHEREAS,    the   spread     of    COVID-19    may    disrupt     the   timely

   delivery of State contracted goods or services, the immediate

   delivery and fulfillment of which is necessary for the life,

   safety, or health of the public; and

        WHEREAS, the State of New Jersey has been working closely

   with the CDC, local health departments, and healthcare facilities

   to monitor, plan for and mitigate the spread of COVID-19 within

   the State; and

        WHEREAS, through Executive Order No. 102, which I signed on

   February 3, 2020, I created the State’s Coronavirus Task Force,

   chaired by the Commissioner of the New Jersey Department of Health

   (“DOH”),   in    order       to   coordinate       the    State’s      efforts   to

   appropriately prepare for and respond to the public health hazard

   posed by COVID-19; and

        WHEREAS,    it    is    critical    to    prepare    for   and    respond   to

   suspected or confirmed COVID-19 cases in New Jersey, to implement

   appropriate measures to mitigate the spread of COVID-19, and to

   prepare in the event of an increasing number of individuals

   requiring medical care or hospitalization; and

        WHEREAS, the State of New Jersey also acts as an employer

   with tens of thousands of employees, and the spread of COVID-19

   requires preparedness for staffing shortages and flexibility in

   work rules to ensure that its employees can fully comply with all


                                                                                        Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 338 of 424
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   medically appropriate measures while also ensuring the continuous

   delivery of State services performed by Executive branch agencies;

   and

         WHEREAS, the continuous delivery of services at the county

   and municipal level performed by those governments and their

   employees is also essential; and

         WHEREAS, the spread of COVID-19 within New Jersey constitutes

   an imminent public health hazard that threatens and presently

   endangers the health, safety, and welfare of the residents of one

   or more municipalities or counties of the State; and

         WHEREAS, it is necessary and appropriate to take action

   against this public health hazard to protect and maintain the

   health, safety, and welfare of New Jersey residents and visitors;

   and

         WHEREAS, the facts as set forth above and consultation with

   the Commissioner of DOH confirms that there exists a public health

   emergency in the State; and

         WHEREAS, New Jersey's Consumer Fraud Act, N.J.S.A. 56:8-107

   et seq., prohibits excessive price increases during a declared

   state of emergency, or for 30 days after the termination of the

   state of emergency; and

         WHEREAS, the Constitution and statutes of the State of New

   Jersey, particularly the provisions of N.J.S.A. 26:13-1 et seq.,

   N.J.S.A. App. A: 9-33 et seq., N.J.S.A. 38A:3-6.1, and N.J.S.A.

   38A:2-4 and all amendments and supplements thereto, confer upon

   the Governor of the State of New Jersey certain emergency powers;

         NOW, THEREFORE, I, PHILIP D. MURPHY, Governor of the State of

   New Jersey, in order to protect the health, safety and welfare of

   the people of the State of New Jersey,     DO DECLARE and PROCLAIM

   that a Public Health Emergency and State of Emergency exist in the

   State of New Jersey, and I hereby ORDER and DIRECT the following:


                                                                        Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 339 of 424
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        1.   I authorize and empower the State Director of Emergency

   Management,     who   is    the   Superintendent       of   State    Police,     in

   conjunction   with    the    Commissioner       of   DOH,   to   take   any    such

   emergency measures as the State Director may determine necessary,

   including the implementation of the State Emergency Operations

   Plan and directing the activation of county and municipal emergency

   operations plans, in order to fully and adequately protect the

   health, safety and welfare of the citizens of the State of New

   Jersey from any actual or potential threat or danger that may exist

   from the possible exposure to COVID-19.                The State Director of

   Emergency Management, in conjunction with the Commissioner of DOH,

   is authorized to coordinate the relief effort from this emergency

   with all governmental agencies, volunteer organizations, and the

   private sector.

        2.   The     State     Director       of   Emergency        Management,     in

   conjunction with the         Commissioner of DOH, shall also supervise

   and coordinate all activities of all State, regional and local

   political bodies and agencies in order to ensure the most effective

   and expeditious implementation of this order, and, to this end,

   may call upon all such agencies and political subdivisions for any

   assistance necessary.

        3.   Given the concurrent invocation of both a State of

   Emergency pursuant to N.J.S.A. App.A.:9-33 et seq. and a Public

   Health Emergency as contemplated by N.J.S.A. 26:13-1 et seq., I

   reserve the right as specifically contemplated by N.J.S.A. 26:13-

   3 to exercise the authority and powers specific to the Emergency

   Health Powers Act as I deem necessary and appropriate to ensure

   the public health for New Jersey’s residents.

        4.   It shall be the duty of every person or entity in this

   State or doing business in this State and of the members of the

   governing body and every official, employee, or agent of every


                                                                                        Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 340 of 424
                                            
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   political subdivision in this State and of each member of all other

   governmental bodies, agencies, and authorities in this State of

   any nature whatsoever, to cooperate fully with the State Director

   of Emergency Management and the Commissioner of DOH in all matters

   concerning this state of emergency.

         5.     The Coronavirus Task Force established under Executive

   Order No. 102 is continued with the Commissioner of DOH as the

   chair,     and   shall    provide   assistance        on   the    State’s   efforts

   preparing for and responding to the public health hazard posed by

   COVID-19.

         6.     I authorize and empower the executive head of any agency

   or instrumentality of the State government with authority to

   promulgate rules to waive, suspend, or modify any existing rule,

   where the enforcement of which would be detrimental to the public

   welfare during this emergency, notwithstanding the provisions of

   the Administrative Procedure Act or any law to the contrary for

   the duration of this Executive Order, subject to my prior approval

   and in consultation with the State Director of Emergency Management

   and the Commissioner of DOH.          Any such waiver, modification, or

   suspension shall be promulgated in accordance with N.J.S.A. App.

   A:9-45.

         7.     All State agencies, and specifically the Departments of

   Banking and Insurance, Health, Human Services, Education, and the

   Civil Service Commission are authorized to take appropriate steps

   to   address     the   public   health       hazard   of   COVID-19,      including

   increasing       access   and   eliminating      barriers        to   medical   care,

   protecting the health and well-being of students, and protecting

   the health and well-being of State, county, and municipal employees

   while ensuring the continuous delivery of State, county, and

   municipal services.




                                                                                          Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 341 of 424
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          8.    I authorize and empower the State Director of Emergency

   Management, in conjunction with the Commissioner of DOH, to order

   the evacuation of all persons, except for those emergency and

   governmental personnel whose presence the State Director deems

   necessary, from any area where their continued presence would

   present a danger to their health, safety, or welfare because of

   the conditions created by this emergency.

          9.    I authorize and empower the State Director of Emergency

   Management, in conjunction with the Commissioner of DOH, to utilize

   all property, equipment, and facilities owned, rented, operated,

   and maintained by the State of New Jersey to house and shelter

   persons who may need to be evacuated from a residence, dwelling,

   building,        structure,    or      vehicle       during     the    course    of     this

   emergency.

          10.   I    authorize    and        empower      the     Adjutant      General,    in

   accordance with N.J.S.A. 38A:2-4 and N.J.S.A. 38A:3-6.1, to order

   to active duty such members of the New Jersey National Guard who,

   in the Adjutant General’s judgment, are necessary to provide aid

   to those localities where there is a threat or danger to the public

   health, safety, and welfare and to authorize the employment of any

   supporting vehicles, equipment, communications, or supplies as may

   be necessary to support the members so ordered.

          11.   In accordance with the N.J.S.A. App. A:9-34 and N.J.S.A.

   App.   A:9-51,      I   reserve     the    right      to     utilize   and    employ    all

   available resources of the State government and of each and every

   political        subdivision      of      the       State,     whether    of    persons,

   properties, or instrumentalities, and to commandeer and utilize

   any personal services and any privately-owned property necessary

   to protect against this emergency.

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                                                                                                 Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 342 of 424
                                           
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        12.     In     accordance   with       N.J.S.A.     App.   A:9    40,    no

   municipality, county, or any other agency or political subdivision

   of this State shall enact or enforce any order, rule, regulation,

   ordinance, or resolution which will or might in any way conflict

   with any of the provisions of this Order, or which will in any way

   interfere with or impede the achievement of the purposes of this

   Order.

        13.     In accordance with N.J.S.A. App. A:9-34, N.J.S.A. App.

   A:9-40.6, and N.J.S.A. 40A:14-156.4, no municipality or public or

   semipublic agency shall send public works, fire, police, emergency

   medical, or other personnel or equipment into any non-contiguous

   impacted municipality within this State, nor to any impacted

   municipality outside this State, unless and until such aid has

   been directed by the county emergency management coordinator or

   his or her deputies in consultation with the State Director of

   Emergency Management in conjunction with the Commissioner of DOH.

        14.     This    Order   shall   take   effect     immediately    and   shall

   remain in effect until such time as it is determined by me that an

   emergency no longer exists.

                                        GIVEN, under my hand and seal this
                                                 9th day of March,
                                               Two Thousand and Twenty, and
                                               of the Independence of the
                                               United   States,    the   Two
                                               Hundred and Forty-Fourth.
       [seal]                           /s/ Philip D. Murphy
                                        Governor

   Attest:
   /s/ Matthew J. Platkin
   Chief Counsel to the Governor




                                                                                      Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 343 of 424




                                                   Filed and Attested by the
                                                  Office of Judicial Records
                                                      14 NOV 2020 05:06 pm
                                                            M. BRYANT




           EXHIBIT 4




                                                                Case ID: 201101371
Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Dis... Page 1 of 3
         Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 344 of 424




                                          PROCLAMATIONS



          Proclamation on Declaring a National
       Emergency Concerning the Novel Coronavirus
              Disease (COVID-19) Outbreak
                                       Issued on: March 13, 2020


                                               
     In December 2019, a novel (new) coronavirus known as SARS-CoV-2 (“the virus”) was first
     detected in Wuhan, Hubei Province, People’s Republic of China, causing outbreaks of the
     coronavirus disease COVID-19 that has now spread globally. The Secretary of Health and
     Human Services (HHS) declared a public health emergency on January 31, 2020, under
     section 319 of the Public Health Service Act (42 U.S.C. 247d), in response to COVID-19.
     I have taken sweeping action to control the spread of the virus in the United States,
     including by suspending entry of foreign nationals seeking entry who had been
     physically present within the prior 14 days in certain jurisdictions where COVID-19
     outbreaks have occurred, including the People’s Republic of China, the Islamic Republic
     of Iran, and the Schengen Area of Europe. The Federal Government, along with State
     and local governments, has taken preventive and proactive measures to slow the spread
     of the virus and treat those affected, including by instituting Federal quarantines for
     individuals evacuated from foreign nations, issuing a declaration pursuant to
     section 319F-3 of the Public Health Service Act (42 U.S.C. 247d-6d), and releasing policies
     to accelerate the acquisition of personal protective equipment and streamline bringing
     new diagnostic capabilities to laboratories. On March 11, 2020, the World Health
     Organization announced that the COVID-19 outbreak can be characterized as a



                                                                                           Case ID: 201101371
https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergenc... 6/8/2020
Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Dis... Page 2 of 3
         Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 345 of 424


     pandemic, as the rates of infection continue to rise in many locations around the world
     and across the United States.


     The spread of COVID-19 within our Nation’s communities threatens to strain our Nation’s
     healthcare systems. As of March 12, 2020, 1,645 people from 47 States have been
     infected with the virus that causes COVID-19. It is incumbent on hospitals and medical
     facilities throughout the country to assess their preparedness posture and be prepared
     to surge capacity and capability. Additional measures, however, are needed to
     successfully contain and combat the virus in the United States.


     NOW, THEREFORE, I, DONALD J. TRUMP, President of the United States, by the authority
     vested in me by the Constitution and the laws of the United States of America, including
     sections 201 and 301 of the National Emergencies Act (50 U.S.C. 1601 et seq.) and
     consistent with section 1135 of the Social Security Act (SSA), as amended (42 U.S.C.
     1320b-5), do hereby find and proclaim that the COVID-19 outbreak in the United States
     constitutes a national emergency, beginning March 1, 2020. Pursuant to this declaration,
     I direct as follows:


     Section 1. Emergency Authority. The Secretary of HHS may exercise the authority under
     section 1135 of the SSA to temporarily waive or modify certain requirements of the
     Medicare, Medicaid, and State Children’s Health Insurance programs and of the Health
     Insurance Portability and Accountability Act Privacy Rule throughout the duration of
     the public health emergency declared in response to the COVID-19 outbreak.


     Sec. 2. Certification and Notice. In exercising this authority, the Secretary of HHS shall
     provide certification and advance written notice to the Congress as required by section
     1135(d) of the SSA (42 U.S.C. 1320b-5(d)).


     Sec. 3. General Provisions. (a) Nothing in this proclamation shall be construed to impair
     or otherwise affect:




                                                                                            Case ID: 201101371
https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergenc... 6/8/2020
Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Dis... Page 3 of 3
         Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 346 of 424


     (i) the authority granted by law to an executive department or agency, or the head
     thereof; or


     (ii) the functions of the Director of the Office of Management and Budget relating to
     budgetary, administrative, or legislative proposals.


     (b) This proclamation shall be implemented consistent with applicable law and subject
     to the availability of appropriations.


     (c) This proclamation is not intended to, and does not, create any right or benefit,
     substantive or procedural, enforceable at law or in equity by any party against the
     United States, its departments, agencies, or entities, its officers, employees, or agents, or
     any other person.


     IN WITNESS WHEREOF, I have hereunto set my hand this thirteenth day of March, in the
     year of our Lord two thousand twenty, and of the Independence of the United States of
     America the two hundred and forty-fourth.


                                          DONALD J. TRUMP




                                                                                            Case ID: 201101371
https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergenc... 6/8/2020
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 347 of 424




                                                   Filed and Attested by the
                                                  Office of Judicial Records
                                                      14 NOV 2020 05:06 pm
                                                            M. BRYANT




           EXHIBIT 5




                                                                Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 348 of 424




                                 COMMONWEALTH OF PENNSYLVANIA
                                     OFFICE OF THE GOVERNOR




                                          ORDER OF

          THE GOVERNOR OF THE COMMONWEALTH OF PENNSYLVANIA

                          FOR INDIVIDUALS TO STAY AT HOME

      WHEREAS, the World Health Organization and the Centers for Disease Control and
Prevention (“CDC”) have declared a novel coronavirus (“COVID-19”) a “public health
emergency of international concern,” and the U.S. Department of Health and Human Services
(“HHS”) Secretary has declared that COVID-19 creates a public health emergency; and

      WHEREAS, as of March 6, 2020, I proclaimed the existence of a disaster emergency
throughout the Commonwealth pursuant to 35 Pa. C.S. § 7301(c); and

     WHEREAS, I am charged with the responsibility to address dangers facing the
Commonwealth of Pennsylvania that result from disasters. 35 Pa. C.S. § 7301(a); and

       WHEREAS, in addition to general powers, during a disaster emergency I am
authorized specifically to control ingress and egress to and from a disaster area and the
movement of persons within it and the occupancy of premises therein. 35 Pa. C.S. §
7301(f); and

        WHEREAS, in executing the extraordinary powers outlined above, I am further
authorized during a disaster emergency to issue, amend and rescind executive orders,
proclamations and regulations and those directives shall have the force and effect of law. 35 Pa.
C.S. § 7301(b); and

        WHEREAS, in addition to my authority, my Secretary of Health has the authority to
determine and employ the most efficient and practical means for the prevention and suppression
of disease. 71 P.S. § 532(a), 71 P.S. 1403(a); and

      WHEREAS, these means include isolation, quarantine, and any other control measure
needed. 35 P.S. § 521.5.

       NOW THEREFORE, pursuant to the authority vested in me and my Administration by
the laws of the Commonwealth of Pennsylvania, I do hereby ORDER and PROCLAIM as
follows:

Section 1: Order to Stay at Home

       All individuals residing in Allegheny County, Bucks County, Chester County, Delaware
County, Monroe County, Montgomery County, and Philadelphia County are ordered to stay at
home except as needed to access, support, or provide life sustaining business, emergency, or
government services. For employees of life sustaining businesses that remain open, the
following child care services may remain open: group and family child care providers in a
residence; child care facilities operating under a waiver granted by the Department of Human
Services Office of Child Development and Early Learning; and, part-day school age
programs operating under an exemption from the March 19, 2020 business closure Orders.




                                                                                        Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 349 of 424




       A list of life sustaining businesses that remain open is attached to and incorporated into
this Order. In addition, businesses that are permitted to remain open include those
granted exemptions prior to or following the issuance of this Order.

       Individuals leaving their home or place of residence to access, support, or provide life
sustaining services for themselves, another person, or a pet must employ social distancing
practices as defined by the Centers for Disease Control and Prevention. Individuals are
permitted to engage in outdoor activities; however, gatherings of individuals outside of the home
are generally prohibited except as may be required to access, support or provide life sustaining
services as outlined above.

       Enforcement of this Order will commence at 8:00 PM on Monday, March 23, 2020.

Section 2: Effective Date and Duration

       This order is effective immediately and will remain in effect for a period of two
weeks, specifically until April 6, 2020.


                                            GIVEN under my hand and the Seal of the
                                            Governor, at the city of Harrisburg, on this twenty-
                                            third day of March two thousand twenty, the year
                                            of the commonwealth the two hundred and forty-
                                            fourth.



                                            TOM WOLF
                                            Governor




                                                                                        Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 350 of 424




                                                   Filed and Attested by the
                                                  Office of Judicial Records
                                                      14 NOV 2020 05:06 pm
                                                            M. BRYANT




           EXHIBIT 6




                                                                Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 351 of 424




                         EXECUTIVE ORDER NO. 107


      WHEREAS, through Executive Order No. 102 (2020), which I

signed on February 3, 2020, I created the State’s Coronavirus Task

Force, chaired by the Commissioner of the New Jersey Department of

Health (“DOH”), in order to coordinate the State’s efforts to

appropriately prepare for and respond to the public health hazard

posed by Coronavirus disease 2019 (“COVID-19”); and

      WHEREAS, in light of the dangers posed by COVID-19, I issued

Executive Order No. 103 (2020) on March 9, 2020, the facts and

circumstances of which are adopted by reference herein, which

declared both a Public Health Emergency and State of Emergency;

and

      WHEREAS, in accordance with N.J.S.A. App. A:9-34 and -51, I

reserved the right to utilize and employ all available resources

of State government to protect against the emergency created by

COVID-19; and

      WHEREAS, in accordance with N.J.S.A App. A:9-40, I declared

that, due to the State of Emergency, no municipality, county, or

any agency or political subdivision of this State shall enact or

enforce any order, rule, regulation, ordinance, or resolution

which will or might in any way conflict with any of the provisions

of my Executive Orders, or which will in any way interfere with or

impede their achievement; and

      WHEREAS, to further protect the health, safety, and welfare

of New Jersey residents by, among other things, reducing the rate

of community spread of COVID-19, I issued Executive Order No. 104

(2020) on March 16, 2020, the facts and circumstances of which are

also adopted by reference herein, which established statewide

social mitigation strategies for combatting COVID-19; and




                                                                      Case ID: 201101371
       Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 352 of 424



                                         2


       WHEREAS, Executive Order No. 104 (2020) limited the scope of

service and hours of operation for restaurants and certain retail

establishments to balance the need to allow individuals to access

food    and   other    essential     materials    with    the   need    to    limit

unnecessary person-to-person contact; and

       WHEREAS, Executive Order No. 104 (2020) deemed a subset of

businesses      as     “essential,”      including      grocery/food      stores,

pharmacies,       medical   supply    stores,    gas     stations,     healthcare

facilities, and ancillary stores within healthcare facilities, and

it authorized the State Director of Emergency Management, who is

the Superintendent of State Police, to make additions, amendments,

clarifications, exceptions, and exclusions to that list; and

       WHEREAS, Executive Order No. 104 (2020) made clear that such

essential businesses may continue operating without limits on

their scope of service or hours of operation, absent further

amendments by the State Director of Emergency Management; and

       WHEREAS,      Executive   Order   No.    104    (2020)   and    subsequent

Administrative Orders issued by the State Director of Emergency

Management also placed restrictions on other businesses’ scope of

service and hours of operation, and also placed restrictions on

the size of gatherings in the State; and

       WHEREAS, as of March 20, 2020, according to the Centers for

Disease Control and Prevention (“CDC”), there were more than

234,000 confirmed cases of COVID-19 worldwide, with over 9,800 of

those cases having resulted in death; and

       WHEREAS, as of March 20, 2020, there were more than 15,000

confirmed cases of COVID-19 in the United States, with at least

201 of those cases having resulted in death; and

       WHEREAS, as of March 20, 2020, there were at least 890

positive cases of COVID-19 in New Jersey, with at least 11 of those

cases having resulted in death; and



                                                                             Case ID: 201101371
     Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 353 of 424



                                     3


     WHEREAS, social mitigation strategies for combatting COVID-

19 require every effort to reduce the rate of community spread of

the disease; and

     WHEREAS, the CDC has advised that COVID-19 spreads most

frequently through person-to-person contact when individuals are

within six feet or less of one another; and

     WHEREAS, as a result, the CDC has recommended that individuals

practice “social distancing” to prevent community spread of the

virus; and

     WHEREAS, the CDC has defined social distancing as the practice

of   “remaining     out   of    congregate   settings,     avoiding       mass

gatherings, and maintaining distance (approximately 6 feet or 2

meters) from others when possible”; and

     WHEREAS, to mitigate community spread of COVID-19, it is

necessary to limit the unnecessary movement of individuals in and

around their    communities and person-to-person interactions in

accordance with CDC and DOH guidance; and

     WHEREAS,     the   best   way for New   Jersey residents to          keep

themselves, their families, and their communities safe during the

COVID-19 outbreak is to stay at home as much as possible; and

     WHEREAS, as of March 15, 2020, the CDC recommends that for

the next eight weeks, gatherings of 50 or more people be canceled

or postponed throughout the United States; and

     WHEREAS, as of March 16, 2020, the White House went further

than the CDC had and recommended that Americans avoid social

gatherings in groups of more than 10 people; and

     WHEREAS, restricting the physical presence of individuals in

office environments and work sites is critical to preventing future

spread of COVID-19; and




                                                                      Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 354 of 424



                                       4


      WHEREAS,    accommodating     work-from-home    arrangements    is    an

effective means to ensure continuity of operations while also

limiting person-to-person contact; and

      WHEREAS,    the   CDC   has   recommended   employers   to   establish

policies and practices to increase the physical distance among

employees and between employees; and

      WHEREAS, permitting the workforce to work from home may reduce

stress on the State’s child care system; and

      WHEREAS, as of March 19, 2020, I have instructed all State

departments and agencies to utilize work-from-home arrangements

for both essential and non-essential employees wherever feasible;

and

      WHEREAS, given the rapidly rising incidence of COVID-19,

temporarily      closing      non-essential    retail    businesses        will

strengthen New Jersey’s efforts to slow the spread of COVID-19;

and

      WHEREAS, even as we institute social distancing measures, the

number of COVID-19 cases in New Jersey is likely to increase for

the immediate future, meaning we must take all possible steps to

preserve our health care system’s capacity to treat those who

require emergency or intensive care; and

      WHEREAS, the Constitution and statutes of the State of New

Jersey, particularly the provisions of N.J.S.A. 26:13-1 et seq.,

N.J.S.A. App. A: 9-33 et seq., N.J.S.A. 38A:3-6.1, and N.J.S.A.

38A:2-4 and all amendments and supplements thereto, confer upon

the Governor of the State of New Jersey certain emergency powers,

which I have invoked;

      NOW, THEREFORE, I, PHILIP D. MURPHY, Governor of the State of

New Jersey, by virtue of the authority vested in me by the

Constitution and by the Statutes of this State, do hereby ORDER

and DIRECT:



                                                                      Case ID: 201101371
    Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 355 of 424



                                         5


     1.     The operative paragraphs of Executive Order No. 104

(2020) are hereby superseded in full.                The factual findings of

Executive Order No. 104 (2020) remain applicable except to the

extent they are in conflict with the factual findings in this or

any intervening Executive Order.

     2.     All New Jersey residents shall remain home or at their

place of residence unless they are 1) obtaining goods or services

from essential retail businesses, as described in Paragraph 6; 2)

obtaining takeout food or beverages from restaurants, other dining

establishments, or food courts, pursuant to Paragraph 8; 3) seeking

medical attention, essential social services, or assistance from

law enforcement or emergency services; 4) visiting family or other

individuals      with    whom    the    resident     has    a     close     personal

relationship, such as those for whom the individual is a caretaker

or romantic partner; 5) reporting to, or performing, their job; 6)

walking, running, operating a wheelchair, or engaging in outdoor

activities with immediate family members, caretakers, household

members,    or     romantic     partners     while      following    best    social

distancing practices with other individuals, including staying six

feet apart; 7) leaving the home for an educational, religious, or

political reason; 8) leaving because of a reasonable fear for his

or her health or safety; or 9) leaving at the direction of law

enforcement or other government agency.

     3.     When    in    public,      individuals      must    practice     social

distancing and stay six feet apart whenever practicable, excluding

immediate    family      members,      caretakers,      household    members,     or

romantic partners.

     4.     Individuals who have to travel pursuant to Paragraph 2

should only use public transportation only if they have no other

feasible    choice.       Individuals      who   ride    public     transportation

should abide by best social distancing practices, including making



                                                                              Case ID: 201101371
       Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 356 of 424



                                               6


all efforts to stand or sit six feet away from other riders and

frequently use sanitizing products.

       5.     Gatherings        of      individuals,            such      as        parties,

celebrations,        or     other    social        events,    are   cancelled,        unless

otherwise authorized by any part of this Order. The State Director

of Emergency Management, who is the Superintendent of the State

Police, shall have the discretion to make clarifications and issue

orders related to this provision.

       6.     The    brick-and-mortar              premises    of   all    non-essential

retail businesses must close to the public as long as this Order

remains in effect.           Essential retail businesses, listed below, are

excluded from this directive and may remain open during their

normal business hours.           Essential retail businesses must, wherever

practicable, provide pickup services outside or adjacent to their

stores       for    goods    ordered      in       advance     online     or   by     phone.

Additionally,         online     and    telephonic            delivery    services       are

permitted to the extent the retail business is authorized to

operate an online or telephonic delivery service under existing

law.        The State Director of Emergency Management, who is the

Superintendent of the State Police, shall have the discretion to

make     additions,         amendments,        clarifications,          exceptions,      and

exclusions to this list:

              a.     Grocery stores, farmer’s markets and farms that

                     sell directly to customers, and other food stores,

                     including retailers that offer a varied assortment

                     of foods comparable to what exists at a grocery

                     store;

              b.     Pharmacies and alternative treatment centers that

                     dispense medicinal marijuana;

              c.     Medical supply stores;

              d.     Retail functions of gas stations;



                                                                                      Case ID: 201101371
    Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 357 of 424



                                          7


            e.      Convenience stores;

            f.      Ancillary stores within healthcare facilities;

            g.      Hardware and home improvement stores;

            h.      Retail    functions       of   banks    and    other   financial

                    institutions;

            i.      Retail functions of laundromats and dry-cleaning

                    services;

            j.      Stores that principally sell supplies for children

                    under five years old;

            k.      Pet stores;

            l.      Liquor stores;

            m.      Car   dealerships,         but   only     to     provide       auto

                    maintenance     and       repair       services,       and     auto

                    mechanics;

            n.      Retail functions of printing and                 office supply

                    shops; and

            o.      Retail functions of mail and delivery stores.

     7.     Any essential retail business whose brick-and-mortar

premises remain open to the public shall abide by social distancing

practices to the extent practicable while providing essential

services.    These include all reasonable efforts to keep customers

six feet apart and frequent use of sanitizing products on common

surfaces.

     8.     All restaurants, cafeterias, dining establishments, and

food courts, with or without a liquor license, all bars, and all

other     holders    of   a   liquor   license       with    retail    consumption

privileges, are permitted to operate their normal business hours,

but are limited to offering only food delivery and/or take-out

services in accordance with their existing liquor licenses.                          If

alcoholic beverages are to be sold from a restaurant, dining

establishment or bar with a liquor license, such sales shall be



                                                                                 Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 358 of 424



                                           8


limited to original containers sold from the principal public

barroom.      The on-premises consumption of alcohol is prohibited.

All   retail      sales   of   alcoholic       beverages     by     limited     brewery

licensees, restricted brewery licensees, plenary and farm winery

licensees (and associated salesrooms), craft distillery licensees

and cidery and meadery licensees must be in original containers

and must be sold through customer pick up and/or delivered by

licensees in accordance with their existing licenses.

      9.     All recreational and entertainment businesses, including

but not limited to the following list, must close to the public as

long as this Order remains in effect.                      The State Director of

Emergency Management, who is the Superintendent of State Police,

shall      have   the     discretion    to       make     additions,      amendments,

clarifications, exceptions, and exclusions to this list:

             a.     Casino     gaming   floors,         including    retail      sports

                    wagering       lounges,       and      casino        concert      and

                    entertainment venues. Online and mobile sports and

                    casino gaming services may continue to be offered

                    notwithstanding        the     closure     of     the      physical

                    facility.

             b.     Racetracks,      including          stabling    facilities        and

                    retail     sports   wagering         lounges.    Mobile      sports

                    wagering     services       may     continue    to    be    offered

                    notwithstanding        the     closure     of     the      physical

                    facility.

             c.     Gyms and fitness centers and classes.

             d.     Entertainment centers, including but not limited

                    to, movie theaters, performing arts centers, other

                    concert venues, and nightclubs.

             e.     All   indoor    portions       of    retail     shopping     malls.

                    Restaurants      and       other     stores     located        within



                                                                                   Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 359 of 424



                                    9


            shopping       malls    that        have     their       own     external

            entrances open to the public, separate from the

            general mall entrance, may remain open pursuant to

            the    terms     and     directives          of    this        Order     for

            operating      hours        and    takeout        or    food     delivery

            services.       All entrances and exits to the common

            area portions of retail shopping malls must remain

            closed.

      f.    All places of public amusement, whether indoors or

            outdoors, including but not limited to, locations

            with amusement parks, water parks, aquariums, zoos,

            arcades, fairs, children’s play centers, funplexes,

            theme parks, bowling alleys, family and children’s

            attractions.

      g.    Facilities       where        personal       care        services       are

            performed that, by their very nature, result in

            noncompliance with social distancing guidelines,

            including but not limited to cosmetology shops;

            barber shops; beauty salons; hair braiding shops;

            nail    salons;         electrology           facilities;              spas,

            including      day     spas       and    medical       spas,    at     which

            solely elective and cosmetic medical procedures are

            performed; massage parlors, tanning salons, tattoo

            parlors,    and      public        and     private      social       clubs,

            whether or not they serve alcohol, including but

            not limited to facilities owned or operated by the

            American Legion, Veterans of Foreign Wars, Knights

            of Columbus, and any other social clubs associated

            with    community        service           organizations.              This

            excludes       any     health           facilities       that     provide

            medically necessary or therapeutic services.



                                                                                 Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 360 of 424



                                       10


             h.     All municipal, county, and State public libraries,

                    and all libraries and computer labs at public and

                    private colleges and universities.

      10.    All businesses or non-profits in the State, whether

closed or open to the public, must accommodate their workforce,

wherever practicable, for telework or work-from-home arrangements.

For purposes of this order, “telework” means the practice of

working from home or alternative locations closer to home through

the   use   of    technology    that   equips     the   individual   to   access

necessary materials.

      11.    To the extent a business or non-profit has employees

that cannot perform their functions via telework or work-from-home

arrangements, the business or non-profit should make best efforts

to reduce staff on site to the minimal number necessary to ensure

that essential operations can continue.            Examples of employees who

need to be physically present at their work site in order to

perform     their   duties     include,     but   are   not   limited   to,   law

enforcement officers, fire fighters, and other first responders,

cashiers or store clerks, construction workers, utility workers,

repair workers, warehouse workers, lab researchers, information

technology maintenance workers, janitorial and custodial staff,

and certain administrative staff.

      12.    All public, private, and parochial preschool program

premises, and elementary and secondary schools, including charter

and renaissance schools, shall remain closed to students as long

as this Order remains in effect.

      13.    All institutions of higher education shall continue to

cease such in-person instruction as long as this Order remains in

effect. The Secretary of the Office of Higher Education shall have

the authority to grant a waiver to allow in-person instruction to

students on a case-by-case basis where a compelling rationale to



                                                                          Case ID: 201101371
    Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 361 of 424



                                            11


allow such access exists. The Secretary of the Office of Higher

Education shall coordinate with institutions of higher education

to determine appropriate student housing conditions for those

students     who    reside     in    on-campus       housing    as    their   primary

residence.

     14.    The Commissioner of the Department of Education (“DOE”),

in consultation with the Commissioner of DOH, shall be authorized

to permit schools to remain open on a limited basis for the

provision of food or other essential, non-educational services, or

for educational or child care services if needed in emergency

situations after consultation with the Commissioner of DOH. The

Commissioner of DOE shall also have the authority to close any

other career or training facilities over which he has oversight,

after consultation with the Commissioner of DOH.

     15.    The Commissioner of DOE shall continue working with each

public school district, and private and parochial schools as

appropriate, to ensure that students are able to continue their

educations       during     this    time    period    through       appropriate     home

instruction.        Local    school        districts,    charter       schools,      and

renaissance schools, in consultation with the Commissioner of DOE,

shall    have      the    authority      and     discretion    to    determine      home

instruction arrangements as appropriate on a case-by-case basis to

ensure     all      students       are     provided     with    appropriate         home

instruction, taking into account all relevant constitutional and

statutory obligations.

     16.    The     Secretary       of   the     Department    of    Agriculture,     in

conjunction with the Commissioner of DOE, shall take all necessary

actions to ensure that all students eligible for free or reduced

meals shall continue to receive the services or supports necessary

to meet nutritional needs during closures.




                                                                                  Case ID: 201101371
    Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 362 of 424



                                     12


     17.    Nothing in this Order shall be construed to limit,

prohibit, or restrict in any way the provision of health care or

medical services to members of the public.

     18.    Nothing in this Order shall be construed to limit,

prohibit, or restrict in any way access to essential services for

low-income residents, including but not limited to food banks.

     19.    Nothing in this Order shall be construed to limit,

prohibit, or restrict in any way the operations of newspapers,

television, radio, and other media services.

     20.    Nothing in this Order shall be construed to limit,

prohibit, or restrict in any way the operations of law enforcement

agencies.

     21.    Nothing in this Order shall be construed to limit,

prohibit, or restrict in any way the operations of the federal

government, or the movement of federal officials in New Jersey

while acting in their official capacity.

     22.    In accordance with N.J.S.A. App. A:9-33, et seq., as

supplemented     and   amended,    the    State   Director    of    Emergency

Management, who is the Superintendent of State Police, through the

police agencies under his control, to determine and control the

direction   of   the   flow   of   vehicular   traffic   on   any   State   or

interstate highway, municipal or county road, and any access road,

including the right to detour, reroute, or divert any or all

traffic and to prevent ingress or egress from any area that, in

the State Director's discretion, is deemed necessary for the

protection of the health, safety, and welfare of the public, and

to remove parked or abandoned vehicles from such roadways as

conditions warrant.

     23.    The Attorney General, pursuant to the provisions of

N.J.S.A. 39:4-213, shall act through the Superintendent of State

Police, to determine and control the direction of the flow of



                                                                       Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 363 of 424



                                     13


vehicular traffic on any State or interstate highway, municipal or

county road, and any access road, including the right to detour,

reroute, or divert any or all traffic, to prevent ingress or

egress, and to determine the type of vehicle or vehicles to be

operated on such roadways. I further authorize all law enforcement

officers to enforce any such order of the Attorney General or

Superintendent        of   State   Police     within    their    respective

municipalities.

       24.     It shall be the duty of every person or entity in this

State or doing business in this State and of the members of the

governing body and every official, employee, or agent of every

political subdivision in this State and of each member of all other

governmental bodies, agencies, and authorities in this State of

any nature whatsoever, to cooperate fully in all matters concerning

this Executive Order.

       25.     Penalties for violations of this Executive Order may be

imposed under, among other statutes, N.J.S.A. App. A:9-49 and -

50.

       26.     This Order shall take effect on Saturday, March 21, 2020,

at 9:00 p.m., and shall remain in effect until revoked or modified

by the Governor, who shall consult with the Commissioner of DOH as

appropriate.

                                   GIVEN, under my hand and seal this
                                            21st day of March,
                                          Two Thousand and Twenty, and
                                          of the Independence of the
                                          United   States,    the   Two
                                          Hundred and Forty-Fourth.
      [seal]                       /s/ Philip D. Murphy
                                   Governor


Attest:
/s/ Matthew J. Platkin
Chief Counsel to the Governor




                                                                      Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 364 of 424




                                                   Filed and Attested by the
                                                  Office of Judicial Records
                                                      14 NOV 2020 05:06 pm
                                                            M. BRYANT




           EXHIBIT 7




                                                                Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 365 of 424




           Public Order Under City of Los Angeles Emergency Authority

                Issue Date: March 19, 2020 (Revised May 27, 2020)

Subject:     SAFER AT HOME

The novel coronavirus pandemic is a global emergency that is unprecedented in
modern history. Profoundly impacting our daily lives, it has inspired Angelenos to
respond with courage, compassion, wisdom and resolve to overcome this crisis and
help each other.

In a short period of time and at an unprecedented scale, residents in every community
have embraced urgent social distancing best practices and aggressive hygienic
precaution, not just to protect themselves, but to protect others. Angelenos understand
with exceptional clarity that there is only one way to get through this difficult moment:
together.

The City’s recent emergency orders — curtailing large public gatherings; temporarily
closing many government facilities; closing theaters, bars and entertainment venues;
prohibiting restaurants from serving to dine-in customers while permitting take-out,
delivery and drive-thru; and a ban on evictions of residential and commercial tenants
who cannot pay rent due to financial impacts caused by COVID-19 — have been
followed with a willing and generous spirit.

While we have previously taken strong action, now the City must adopt additional
emergency measures to further limit the spread of COVID-19.

With this virus, we are safer at home.

Wherever feasible, City residents must isolate themselves in their residences, subject to
certain exceptions provided below. This Order is given because, among other reasons,
the COVID-19 virus can spread easily from person to person and it is physically causing
property loss or damage due to its tendency to attach to surfaces for prolonged periods
of time.




                                                                                  Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 366 of 424


Under the provisions of Section 231(i) of the Los Angeles City Charter and Chapter 3,
Section 8.27 of the Los Angeles Administrative Code, I hereby declare the following
orders to be necessary for the protection of life and property in the City of Los Angeles,
effective on Friday, April, 10, 2020 at 11:59 PM:

1.      Subject only to the exceptions outlined in this Paragraph and Paragraph 5 below,
all persons living within the City of Los Angeles are hereby ordered to remain in their
homes. Residents of the City of Los Angeles who are experiencing homelessness are
exempt from this requirement. The City is working, along with partner government
agencies and non-governmental organizations, to make more emergency shelters
available for the unhoused residents of our City. City of Los Angeles officials and
contracted partners responsible for homelessness outreach shall make every
reasonable effort to persuade such residents to accept, if offered, temporary housing or
shelter, as the Health Officer of the County of Los Angeles recommends that sheltering
individuals will assist in reducing the spread of the virus and will protect the individual
from potential exposure by allowing the individual access to sanitation tools. People at
high risk of severe illness from COVID-19 and people who are sick are urged to stay in
their residence to the extent possible except as necessary to seek medical care.

2.      Subject only to the exceptions outlined in this Paragraph and Paragraph 5 below,
all businesses within the City of Los Angeles are ordered to cease operations that
require in-person attendance by workers at a workplace. Indoor Malls and Shopping
Centers can open to no more than 50% of overall shopping center capacity. To the
extent that business operations may be maintained by telecommuting or other remote
means, while allowing all individuals to maintain shelter in their residences, this Order
shall not apply to limit such business activities. A business that fails to cease operation
despite not meeting an exception in this Paragraph or Paragraph 5 may be subject to
having its water and power services shut off by the Department of Water and Power for
not being in compliance with the Order. The Deputy Mayor of Public Safety, or his
written designee, may, after engagement with and a written warning issued to a
noncompliant business, refer that business in writing to the Department of Water and
Power to shut off water and power services pursuant to this order. Upon receiving such
a written referral, the Department of Water & Power is authorized to shut off water and
power services to the noncompliant business operating in violation of the Order

3.    All public and private gatherings of any number of people occurring outside a
residence are prohibited, except as to those exempted activities described in this
Paragraph and Paragraph 5. This provision does not apply to gatherings within a single
household or living unit.

4.   All travel, including, without limitation, travel on foot, bicycle, scooter, motorcycle,
automobile, or public transit is prohibited, subject to the exceptions in Paragraph 5.

5.     Exceptions. People may lawfully leave their residence while this Order is in
effect only to engage in the following activities:

        (i) First 24 hour allowance. This Order shall not apply, for a 24-hour period
following the effective date above, to allow employees and business owners to access
to their workplaces to gather belongings or address other administrative needs, so long

                                                                                     Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 367 of 424


as social distancing requirements are followed. Such workplaces shall remain closed to
the public in accordance with this Order.

         (ii) Essential Activities. To engage in certain essential activities, including,
without limitation, visiting a health or veterinary care professional, obtaining medical
supplies or medication, obtaining grocery items (including, without limitation, canned
food, dry goods, fresh fruits and vegetables, pet supplies, fresh or frozen meats, fish,
and poultry, any other household consumer products and products necessary to
maintain the safety and sanitation of residences and other buildings) for their household
or to deliver to others, or for legally mandated government purposes. In addition, any
travel related to (a) providing care for minors, the elderly, dependents, persons with
disabilities, or other vulnerable persons; (b) returning to one’s place of residence from
outside the City; (c) travelling to one’s place of residence located outside the City; (d)
compliance with an order of law enforcement or court shall be exempt from this Order;
(e) legally mandated government purposes; (f) attend a funeral with no more than 10
individuals present or manage after-death arrangements and burial; or (g) to participate
in a vehicle-based parade or drive-thru events (hosts and participants of such activities
must observe and comply with the Vehicle-Based Parade Protocol published by the Los
Angeles County Department of Public Health); or (h) to participate in an in-person
protests as long as attendance is limited to 25% of the relevant area’s maximum
occupancy, as defined by the relevant local permitting authority or other relevant
authority, or a maximum of 100 attendees, whichever is less, and physical distancing of
six feet between persons or groups of persons from different households is maintained
at all times. Persons engaging in these essential activities are required to maintain
reasonable social distancing practices. This includes maintaining a distance of at least
six-feet away from others, frequently washing hands with soap and water for at least
twenty seconds or using hand sanitizer, covering coughs or sneezes (into the sleeve or
elbow, not hands), regularly cleaning high-touch surfaces, not shaking hands and
wearing a cloth face covering whenever there is or can be contact with others who are
non-household members in both public and private places. Young children who are at
risk of suffocation and people with certain disabilities are not required to wear a face
covering.

        (iii) Outdoor Activities. To engage in passive outdoor activity and recreation,
provided that the individuals comply with social distancing requirements, including,
without limitation, walking, running, cycling; use of scooters, roller skates, skateboards,
or other personal mobility devices. All individuals engaging in outdoor activities must
wear a cloth face covering whenever there is or can be contact with others who are non-
household members. Young children who are at risk of suffocation, people with certain
disabilities, and individuals engaging in water activities and certain sports specified in
Los Angeles County Department of Public Health Protocols (such as tennis, pickleball
and solo horseback riding) are not required to wear a face covering. Golf is permitted;
public and private courses may operate upon implementing the Los Angeles County
Department of Public Health Reopening Protocol for Golf Courses. Golf and tennis
clubhouses, course restaurants and pro shops remain closed to public entry; pro shops
may operate but can only conduct sales outside the storefront, and course restaurants
can operate for take-out or delivery and cannot serve dine-in customers. Indoor and
outdoor playgrounds for children, except those located within childcare centers, shall be
closed for all purposes. The City of Los Angeles, following the recommendations and

                                                                                  Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 368 of 424


directives of the County Department of Public Health, shall cancel its recreational and
cultural programming and close its beaches, public beach parking lots, beach access
points, piers, park trails, trail heads, and park facilities. Beaches are open for active
recreation, including swimming, surfing, running and walking; however, sunbathing,
sitting, gatherings, youth camps, group sports and athletic competitions are not allowed.
Visitors to beaches shall follow the Los Angeles County Department of Public Health
Reopening Protocol for use of Public Beaches. Pools, hot tubs, and saunas that are in a
multi-unit residence or part of a Homeowners’ Association may open upon implementing
the Los Angeles County Department of Public Health Protocols for Reopening of
Swimming Pools in Shared Residential Facilities. Parks shall remain open for
recreational activities while practicing social distancing and shall follow the Los Angeles
County Department of Public Health Reopening Protocol for Use of Public Trails.
“Recreation and cultural programming” refers to recreational and cultural activities,
indoor and outdoor sports leagues, aquatics classes, instructional courses, and group
sessions on City-owned and operated park land. “Park facilities,” which shall be closed
to the public, refers to the City’s Department of Recreation and Parks facilities,
including: skate parks, basketball courts, tennis courts, volleyball courts, baseball fields,
Venice Boardwalk (except as necessary to travel to an essential business), Runyon
Canyon, Griffith Observatory, Travel Town, Griffith Park train rides and pony rides, the
Cabrillo Marine Museum, Sherman Oaks Castle, EXPO Center, and aquatics facilities.
Tennis and pickle ball courts, shooting and archery ranges, equestrian centers, model
airplane areas, community gardens, and bike parks may operate upon implementing the
required Los Angeles County Department of Public Health protocols found on
paragraph 6. Census Centers located at Recreation and Parks facilities may remain
open, provided strict adherence to social distancing practices. Outdoor Museums,
Open Air Galleries, Botanical Gardens and other Outdoor Exhibition Spaces may open
upon implementing the Los Angeles County Department of Public Health Protocols for
Opening for Outdoor Museums and Galleries.

       (iv) Work in Support of Essential Activities. To perform work providing essential
products and services or to otherwise carry out activities specifically permitted in this
Order.

       (v) To care for or support a friend, family member, or pet in another household.

       (vi) Emergency Personnel. All first responders, gang and crisis intervention
workers, public health workers, emergency management personnel, emergency
dispatchers, law enforcement personnel, and related contractors and others working for
emergency services providers are categorically exempt from this Order.

       (vii) Essential Activities Exempt. Certain business operations and activities are
exempt from the provisions of this Order, on the grounds that they provide services that
are recognized to be critical to the health and well-being of the City. These include:
               (a)    All healthcare operations, including hospitals, clinics, dentists,
pharmacies, pharmaceutical and biotechnology companies, medical and scientific
research, laboratories, healthcare suppliers, home healthcare services providers,
veterinary care and pet day care providers (excluding pet grooming and training),
mental and behavioral health providers and support groups, substance use providers
and support groups, physical therapists and chiropractors, cannabis dispensaries, or

                                                                                    Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 369 of 424


any related and/or ancillary healthcare services, manufacturers and suppliers.
Behavioral health or substance use disorder support group meetings must implement
the Los Angeles County Department of Public Health’s Reopening Protocol for
Substance Use Disorder and Mental Health Support Groups. Healthcare operations
does not include fitness and exercise gyms and similar facilities.
               (b)    Grocery stores, water retailers, farm and produce stands,
supermarkets, convenience stores, warehouse stores, food banks, and other
establishments engaged in the retail sale of canned food, dry goods, fresh fruits and
vegetables, pet food and medication supply, fresh or frozen meats, fish, and poultry,
and other household consumer products necessary to maintain the safety, sanitation
and essential operation of residences. This includes stores that sell beer, wine, and
liquor. However, the portions of liquor stores, wineries, breweries and tap rooms that
provide tastings to the public are closed. Certified farmers markets may operate only if
they are able to obtain written approval from the Bureau of Street Services (BSS) and
only according to the guidelines and set forth by BSS.
               (c)    Agricultural and horticultural cultivation, including farming, livestock,
and fishing.
               (d)    Organizations and businesses that provide food, shelter, and social
services, and other necessities of life for economically disadvantaged or otherwise
needy individuals (including gang prevention and intervention, domestic violence, and
homeless services agencies).
               (e)    Newspapers, television news, radio, magazine, podcast and
journalism.
               (f)    Gas service stations, auto/motorcycle part supply, mobile
auto/motorcycle repair operations, auto/motorcycle repair shops (including, without
limitation, auto repair shops that operate adjacent to or otherwise in connection with an
used or retail auto dealership), bicycle repair shops and related facilities. Auto
dealerships and motorcycle dealerships may open to the public, under the conditions
required by and upon implementation of the Los Angeles County Department of Public
Health Reopening Protocol for Car Dealerships. Car washes are permitted to operate
upon implementing the Los Angeles County Department of Public Health Reopening
Protocol for Car Washes.
               (g)    Banks, credit unions, financial institutions and insurance
companies, and pawn shops.
               (h)    Hardware and building supply stores, day labor centers, nurseries
and horticulture wholesale distributors.
               (i)    Plumbers, electricians, custodial/janitorial workers, handyman
services, funeral home workers and morticians, moving services, HVAC installers,
carpenters, day laborers, landscapers, gardeners, exterminators, property managers
and leasing agents, private security personnel and other service providers who provide
services to maintain the safety, sanitation, and essential operation to properties and
other essential activities discussed in this subsection.
               (j)    Businesses providing mailing and shipping services, boxes and
packaging, and post office boxes.
               (k)    Educational institutions -- including public and private K-12 schools,
colleges, and universities -- for purposes of facilitating distance learning or performing
essential functions provided that social distancing of six-feet per person is maintained.
               (l)    Laundromats, dry cleaners, and laundry service providers.


                                                                                      Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 370 of 424


                 (m) Restaurants and retail food facilities that prepare and offer food to
customers, but only via delivery service, to be picked up, or drive-thru. For those
establishments offering food pick-up options, proprietors are directed to establish social
distancing practices for those patrons in the queue for pick-up. This includes
maintaining a distance of at least six-feet away from others. Schools and other entities
that typically provide free food services to students or members of the public may
continue to do so under this Order on the condition that the food is provided to students
or members of the public on a pick-up and carry out basis only. Schools and other
entities that provide food services under this exemption shall not permit the food to be
eaten at the site where it is provided, or any other gathering site. Cafeterias,
commissaries, and restaurants located within hospitals, nursing homes, or similar
facilities are also exempt from this Order. Social distancing shall be maintained at a
distance of at least six-feet away from others.
                 (n)     Businesses that supply or provide storage for retail goods and
products needed for people to work from home.
                 (o)     Businesses that supply other essential businesses with the support,
services, or supplies necessary to operate, provided that strict social distancing is
maintained. This section includes, without limitation, utility companies.
                 (p)     Individuals and businesses that ship, truck, transport, or provide
logistical support to deliver groceries, food, goods, or services directly to residences, or
businesses engaged in essential activities or essential infrastructure.
                 (q)     Airlines, taxis, ride sharing services, car rental companies, and
other private transportation services providing transportation services necessary for
essential activities and other purposes expressly authorized in this Order.
                 (r)     Home-based care for disabled persons, seniors, adults, or children.
                 (s)     Residential facilities and shelters for homeless residents, disabled
persons, seniors, adults, children and animals.
                 (t)     Office-based businesses when teleworking is not possible,
including professional services, such as legal, leasing and real estate transactions,
payroll or accounting services, when necessary to assist in the permitting, inspection,
construction, transfer and recording of ownership of housing, and when necessary to
achieve compliance with legally mandated activities. Housing units and real property
may be shown, provided that appointments and other residential viewings occur virtually
or, if a virtual viewing is not feasible, by appointment with no more than two visitors at a
time residing within the same household or living unit and one individual showing the
unit. However, such in-person visits are not permitted when a tenant occupant is still
residing in the residence, unless the owner first obtains the tenant’s written consent.
                 (u)     Childcare facilities providing services that enable employees
exempted in this Order to work as permitted. To the extent possible, childcare facilities
must operate under the following mandatory conditions:
                     (1) Childcare must be carried out in stable groups of 10 or fewer
                         (“stable” means that the same 12 or fewer children are in the same
                         group each day).
                     (2) Children shall not change from one group to another.
                     (3) If more than one group of children is cared for at one facility, each
                         group shall be in a separate room. Groups shall not mix with each
                         other.
                     (4) Childcare providers shall remain solely with one group of children.
                 (v) Hotels, motels, shared rental units and similar facilities.

                                                                                     Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 371 of 424


               (w) Military/Defense Contractors/FFRDC (Federally Funded Research
and Development Centers). For purposes of this Order, essential personnel may leave
their residence to provide any service or perform any work deemed essential for
national security including, without limitation, defense, intelligence, and aerospace
development and manufacturing for the Department of Defense, the Intelligence
Community, and NASA and other federal government, and or United States
Government departments and agencies. Essential personnel include prime, sub-prime,
and supplier contractor employees, at both the prime contract level and any supplier
level at any tier, working on federal United States Government contracts, such as
contracts for national intelligence and national security requirements.
               (x)     Businesses that manufacture retail goods. These businesses must
also implement the County of Los Angeles Reopening Protocol for Warehousing,
Manufacturing and Logistic Establishments.
               (y)     Retail stores may operate, after implementing the County of Los
Angeles Department of Public Health Protocols for Retail Establishments Opening for
In-person Shopping. Indoor malls and shopping centers can open to no more than 50%
of overall shopping center capacity and must adopt the County Department of Public
Health Protocols for Shopping Center Operators.
               (z)     Places of worship, provided that the gathering of congregants is
limited to the lower of 25% of the total maximum occupancy (or occupant load) assigned
for that building on its Certificate of Occupancy or as determined by Section 1004 of the
2019 California Building Code, or 100 people. Faith-based organizations holding in-
person services must follow the Los Angeles County Department of Public Health
Places of Worship Protocols, including requiring face coverings during services and
celebrations except for young children or others with impaired breathing or other at-risk
conditions.

        (viii) Government Employees. This Order does not apply to employees of
government agencies working within the course and scope of their public service
employment. Employees of the City of Los Angeles shall follow any current or future
directives issued by the Mayor.
        (ix)   Essential Infrastructure. Individuals may leave their residences to provide
any services or goods or perform any work necessary to to build, operate, maintain or
manufacture essential infrastructure, including without limitation construction of public
health operations, commercial, office and institutional buildings, residential buildings
and housing; airport operations, food supply, concessions, and construction; port
operations and construction; water, sewer, gas, electrical, oil extraction and refining;
roads and highways, public transportation and rail; solid waste collection, removal, and
recycling; flood control and watershed protection; internet and telecommunications
systems (including the provision of essential global, national, and local infrastructure for
computing services, business infrastructure, communications, phone retail sales and
servicing, and web-based services); and manufacturing and distribution companies
deemed essential to the supply chains of the industries referenced in this Paragraph,
provided that they carry out those services and that work in compliance with social
distancing practices as prescribed by the Centers for Disease Control and Prevention
and the Los Angeles County Department of Public Health, to the extent possible.

      (x)    Non-Essential Businesses. Businesses regarded under this Order as
“non-essential” may be permitted to conduct minimum basic operations including

                                                                                    Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 372 of 424


inventory, security, custodial services, payroll and employee benefits processing, and
any reasonable activity designed to maximize the ability for its employees to work
remotely from their homes. Any Non-Essential Businesses conducting minimum basic
operations, as allowed for in the paragraph, shall keep its doors closed and locked to
the public at all times and shall post a sign on its main entrances stating that the
business is closed to the public.

6.     Public Notice of Social Distancing Protocols for Certain Public-Facing Essential
Businesses. The City of Los Angeles has adopted all safety protocols developed by the
County of Los Angeles Department of Public Health. All individuals, except young
children at risk of suffocation and people with certain disabilities, engaging in the
permitted activities described below must wear face coverings and adopt social
distancing requirements. All businesses described below must require workers and
customers to wear face coverings and adopt the County Public Health protocols, which
are available for download at https://www.lamayor.org/COVID19Orders. For relevant
businesses, (i) the protocols notice must be posted at or near the entrance to the facility
so that it is easily viewable by the public and employees; and (ii) copies of the protocols
must be provided to each employee performing work at the facility; and (iii) the business
must provide evidence of its implementation of the protocols to any authority enforcing
this Order upon demand. The required protocols include:

       a)      The owner, manager, or operator of any business described in Paragraph
1 of the April 7, 2020 Worker Protection Order (Revised May 7, 2020), shall prepare and
post by no later than 11:59 p.m. on April 15, 2020, a the County’s Social Distancing
Protocol for each of their facilities within the City of Los Angeles.

       b)     The owner, manager, or operator of any permitted retail business
described in Paragraph 5 (vii)(y) of this Order must implement the County’s Protocols
for Retail Establishments Opening for In-person Shopping.

       c)    The owner, manager, or operator of any permitted auto dealer described
in Paragraph 5 (vii)(f) of this Order must implement the County’s Car Dealership
Protocols.

      d)    The owner, manager, or operator of any permitted public and private golf
courses described in Paragraph 5 (iii) of this Order must implement the County’s Golf
Courses Protocols.

      e)     All hikers and visitors of trails described in Paragraph 5 (iii) of this Order
must adopt the County’s Trail Use Protocols.

       f)   All visitors to beaches described in Paragraph 5 (iii) of this Order must
adopt the County’s Beach Protocols.

       g)   All visitors to bike parks described in Paragraph 5 (iii) of this Order must
adopt the County’s Bike Park Protocols.

      h)    All visitors to community gardens described in Paragraph 5 (iii) of this
Order must adopt the County’s Community Gardens Protocols.

                                                                                     Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 373 of 424



      i)     All visitors to equestrian centers described in Paragraph 5 (iii) of this Order
must adopt the County’s Equestrian Centers Protocols.

      j)    All visitors to model airplane areas described in Paragraph 5 (iii) of this
Order must adopt the County’s Model Airplane Protocols.

       k)    All visitors to tennis and pickleball courts described in Paragraph 5 (iii) of
this Order must adopt the County’s Tennis Pickleball Courts Protocols.

      l)     All operators and participants of substance use disorder and mental health
support groups described in Paragraph 5(vii)(a) and (d) must adopt the County’s
Substance Use Disorder and Mental Health Support Groups Protocols.

      m)     All outdoor shooting facilities described in Paragraph 5 (iii) of this Order
must adopt the County’s Outdoor Shooting Facility Protocols.

         n)    The owner, manager, or operator of any permitted warehouse business
described in Paragraph 5 (vii)(n), or any permitted logistics business described in
Paragraph 5 (vii)(p), or any permitted manufacturing business described in Paragraph 5
(vii)(y) must adopt the County’s Reopening Protocol for Warehousing, Manufacturing
and Logistic Establishments

         o)    The owner, manager, or operator of a car wash described in Paragraph
5(vii)(f) must adopt the County’s Reopening Protocol for Car Washes

      p)     All hosts and participants of vehicle-based parades or drive thru events
must adopt the County’s Protocol for Vehicle Based Parades or Drive Thru Events.

      q)     The owner, manager, or operator of a place of worship or faith-based
organization hosting in-person services must adopt the County’s Protocol for Places of
Worship Protocols.

      r)     The owner, manager, or operator of office-based businesses must adopt
the County’s Office-Based Worksites Protocol.

      s)     The owner, manager, or operator of shopping centers or malls must adopt
the County’s Shopping Center Operators Protocol.

      t)     The operator of pools, hot tubs, and saunas that are in a multi-unit
residence or part of a Homeowners’ Association must adopt the County’s Protocols for
Reopening of Swimming Pools in Shared Residential Facilities.

       u)     The owner, manager or operator of Outdoor Museums, Open Air
Galleries, Botanical Gardens and other Outdoor Exhibition Spaces must adopt the
County’s Protocols for Opening for Outdoor Museums and Galleries.

7.     To the extent that this Order is in conflict with earlier Orders, this Order
shall supersede the others.

                                                                                      Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 374 of 424



8.     Failure to comply with this Order shall constitute a misdemeanor subject to
fines and imprisonment. I hereby urge the Los Angeles Police Department and
the City Attorney to vigorously enforce this Order via Sections 8.77 and 8.78 of the
Los Angeles Administrative Code.

9.      If any subsection, sentence, clause, phrase, or word of this Order or any
application of it to any person, structure, or circumstance is held to be invalid or
unconstitutional by a decision of a court of competent jurisdiction, then such
decision shall not affect the validity of the remaining portions or applications of this
Order.

This order shall be in place during the local emergency period, and it may be
amended or rescinded as warranted according to local public health conditions.


                                                    _______________________________
                                                                  Eric Garcetti, MAYOR




Dated: May 27, 2020 at Los Angeles, California
Time: __4:00 p.m.__

Filed with the City Clerk
Date: _____________________
Time: _____________________
By: _______________________

                                                                                     Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 375 of 424




                                                   Filed and Attested by the
                                                  Office of Judicial Records
                                                      14 NOV 2020 05:06 pm
                                                            M. BRYANT




           EXHIBIT 8




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                       Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 376 of 424
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      EIGHTH SUPPLEMENT TO MAYORAL PROCLAMATION DECLARING THE
         EXISTENCE OF A LOCAL EMERGENCY DATED FEBRUARY 25, 2020

      WHEREAS, California Government Code Sections 8550 et seq., San Francisco Charter
      Section 3.100(14) and Chapter 7 of the San Francisco Administrative Code empower the
      Mayor to proclaim the existence of a local emergency, subject to concurrence by the
      Board of Supervisors as provided in the Charter, in the case of an emergency threatening
      the lives, property or welfare of the City and County or its citizens; and

      WHEREAS, On February 25, 2020, the Mayor issued a Proclamation (the
      “Proclamation”) declaring a local emergency to exist in connection with the imminent
      spread within the City of a novel (new) coronavirus (“COVID-19”); and

      WHEREAS, On March 3, 2020, the Board of Supervisors concurred in the Proclamation
      and in the actions taken by the Mayor to meet the emergency; and

      WHEREAS, On March 4, 2020, Governor Gavin Newsom proclaimed a state of
      emergency to exist within the State due to the threat posed by COVID-19; and

      WHEREAS, On March 6, 2020, the Local Health Officer declared a local health
      emergency under Section 101080 of the California Health and Safety Code, and the
      Board of Supervisors concurred in that declaration on March 10, 2020; and

      WHEREAS, On March 6, 2020, the City issued public health guidance to encourage
      social distancing to disrupt the spread of COVID-19 and protect community health; and

      WHEREAS, On March 7, 2020, the Local Health Officer ordered certain City facilities
      not to hold non-essential group events of more than 50 people for the two weeks from the
      date of the order and prohibited visitors from Laguna Honda Hospital; and

      WHEREAS, On March 7, 2020, the Department of Human Resources issued guidance to
      minimize COVID-19 exposure risk for City employees who provide essential services to
      the local community, in particular during the current local emergency; and

      WHEREAS, On March 11, 2020, March 13, 2020, March 17, 2020, March 18, 2020, and
      March 23, 2020, the Mayor issued supplements to the Proclamation, ordering additional
      measures to respond to the emergency; and

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                       Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 377 of 424
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      WHEREAS, On March 16, 2020, the City’s Health Officer issued a stay safe at home
      order, Health Officer Order No. C19-07 (the “Stay Safe At Home Order”), requiring most
      people to remain in their homes subject to certain exceptions including obtaining
      essential goods such as food and necessary supplies, and requiring the closure of non-
      essential businesses, through April 7, 2020, and on March 31, 2020, the Health Officer
      extended the Stay Safe At Home Order through May 3, 2020; and

      WHEREAS, On March 19, 2020, the Governor issued Executive Order N-33-20 and the
      California Public Health Officer issued a corresponding order requiring people to stay
      home except as needed subject to certain exceptions; and

      WHEREAS, There are currently 434 confirmed cases of COVID-19 within the City and
      there have been 7 COVID-19-related deaths in the City; there are more than 9,500
      confirmed cases in California, and there have been 204 COVID-19-related deaths in
      California; and

      WHEREAS, This order and the previous orders issued during this emergency have all
      been issued because of the propensity of the virus to spread person to person and also
      because the virus physically is causing property loss or damage due to its proclivity to
      attach to surfaces for prolonged periods of time; and

      WHEREAS, On March 17, 2020, the Mayor issued the Third Supplement to the
      Emergency Proclamation, which contained an order prohibiting meetings of City boards,
      commissions, and advisory bodies, other than the Board of Supervisors, through April 7,
      2020, unless authorized by the Mayor or the Board of Supervisors; given the extension of
      the Stay Safe At Home Order through May 3, 2020, it is necessary to continue the
      restrictions on meetings of these bodies through May 3, 2020; and

      WHEREAS, On March 18, 2020, the Mayor issued the Fourth Supplement to the
      Emergency Proclamation, imposing a temporary moratorium on eviction for non-
      payment of rent by commercial tenants directly impacted by the COVID-19 crisis, and it
      is necessary to clarify how the moratorium is intended to apply; and

      WHEREAS, The Mayor proclaims that the conditions of extreme peril exist and
      continue to warrant and necessitate the existence of a local emergency,


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                       Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 378 of 424
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      NOW, THEREFORE,

      I, London N. Breed, Mayor of the City and County of San Francisco, proclaim that there
      continues to exist an emergency within the City and County threatening the lives,
      property or welfare of the City and County and its citizens;

      In addition to the measures outlined in the Proclamation and in the Supplements to
      the Proclamation dated March 11, March 13, March 17, March 18, March 23,
      March 27, and March 31, 2020, it is further ordered that:

      (1) Section 5 of the Third Supplement to the Emergency Proclamation dated March 17,
      2020, is revised and replaced as follows: From March 18, 2020 through May 3, 2020,
      City policy and advisory bodies shall not hold public meetings, unless the Board of
      Supervisors, acting by written motion, or the Mayor or the Mayor’s designee directs
      otherwise, based on a determination that a policy body has an urgent need to take action
      to ensure public health, safety, or essential government operations. This order applies to
      all City commissions, boards, and advisory bodies other than the Board of Supervisors
      and its committees.

      (2) The Fourth Supplement to the Emergency Proclamation dated March 18, 2020 (the
      “Fourth Supplement”), imposing a temporary moratorium on eviction for non-payment of
      rent by commercial tenants directly impacted by the COVID-19 crisis, is amended as
      follows:

              (a) Notwithstanding the word “eviction” in subsection (d) of the Fourth
      Supplement, the moratorium applies to all attempts to recover possession of a unit due to
      non-payment, including situations where the tenant is occupying the unit on a month-to-
      month periodic tenancy, holdover basis, or similar arrangement, and including where the
      landlord has the right to terminate or not renew the agreement at the landlord’s discretion.
      In such situations, if a tenant misses a payment due to COVID-19, the moratorium
      against recovering possession due to non-payment shall apply, unless the landlord can
      demonstrate an alternative, non-pretextual reason for recovering possession of the unit
      (e.g., turning the unit over to a new tenant under a previously executed agreement,
      planned renovations, or previous agreement to turn over the unit vacant to a new owner).

            (b) The moratorium is also intended to cover security deposits. The moratorium
      does not prohibit a landlord from drawing from an existing security deposit, in the event

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                      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 379 of 424
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      the tenant has missed a rent payment and the agreement allows the landlord to deduct rent
      from the security deposit. However, a landlord may not require a tenant described in
      subdivision (a) of the Fourth Supplement to increase the security deposit. If an existing
      agreement contains a provision requiring a tenant to replenish a security deposit that the
      landlord has drawn from, the landlord shall not attempt to recover possession of the unit
      due to the tenant’s inability to replenish the security deposit, if the tenant was unable to
      do so because of the financial impacts of COVID-19. In such event, the landlord and
      tenant shall follow the notice and cure requirements set forth in subdivisions (c) and (d)
      of the Fourth Supplement with regard to replenishment of the security deposit. Any
      failure to replenish a security deposit as set forth in an existing agreement shall not be a
      basis to recover possession of the unit until six months after the moratorium expires.
      Notwithstanding the foregoing, landlords are discouraged from using tenants’ security
      deposits to cover missed rent payments during the moratorium.

             (c) The foregoing provisions are incorporated into the Fourth Supplement as
      though set forth directly therein, and shall expire at the same time that the Fourth
      Supplement expires. If the Fourth Supplement is renewed, the foregoing provisions shall
      also renew.



      DATED: April 1, 2020
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Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 380 of 424




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           EXHIBIT 9




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 381 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 382 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 383 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 384 of 424




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         EXHIBIT 10




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      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 385 of 424




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       Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 386 of 424



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       Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 387 of 424



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                                                                                               Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 389 of 424




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         EXHIBIT 11




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 390 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 391 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 392 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 393 of 424




                                                                Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 394 of 424




                                                   Filed and Attested by the
                                                  Office of Judicial Records
                                                      14 NOV 2020 05:06 pm
                                                            M. BRYANT




         EXHIBIT 12




                                                                Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 395 of 424




                                        D 2020 024
                                   EXECUTIVE ORDER

                  Amending and Extending Executive Order D 2020 017 Ordering
                   Coloradans to Stay at Home Due to the Presence of COVID-19

        Pursuant to the authority vested in the Governor of the State of Colorado and, in
particular, pursuant to Article IV, Section 2 of the Colorado Constitution and the relevant
portions of the Colorado Disaster Emergency Act, C.R.S. § 24-33.5-701 et seq., I, Jared Polis,
Governor of the State of Colorado, hereby issue this Executive Order amending and extending
Executive Order D 2020 017 ordering Coloradans to stay at home due to the presence of
coronavirus disease 2019 (COVID-19) in the State.

I.     Background and Purpose

        On March 5, 2020, the Colorado Department of Public Health and Environment’s
(CDPHE) public health laboratory confirmed the first presumptive positive COVID-19 test result
in Colorado. Since then, the number of confirmed cases has continued to climb, and we have
evidence of community spread throughout the State. I verbally declared a disaster emergency on
March 10, 2020 and issued the corresponding Executive Order D 2020 003 on March 11,
2020. On March 25, 2020, I requested that the President of the United States declare a Major
Disaster for the State of Colorado, pursuant to the Stafford Act. The President approved that
request on March 28, 2020.

        My administration, along with other State, local, and federal authorities, has taken a wide
array of actions to mitigate the effects of the pandemic, prevent further spread, and protect
against overwhelming our health care resources. COVID-19 also physically contributes to
property loss, contamination, and damage due to its propensity to attach to surfaces for
prolonged periods of time. On March 25, 2020, I issued Executive Order D 2020 017 ordering
Coloradans to stay at home (Stay at Home Order) and CDPHE issued its corresponding Public
Health Order (PHO) 20-24 implementing stay at home requirements.

        The evidence shows that social distancing and the Stay at Home Order are working. The
increase in cases and rate of infection are slowing. In addition, there has been a 60% reduction of
cars on the road since the beginning of March, which means that there are fewer person-to-
person interactions and fewer opportunities for Coloradans to spread the virus. Simply put, by
staying home, Coloradans are saving lives.

       This Executive Order amends and extends Executive Order D 2020 017 to require
Coloradans to stay at home until April 26, 2020.




                                                                                          Case ID: 201101371
       Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 396 of 424

                                                                    Executive Order D 2020 024
                                                                                  April 6, 2020
                                                                                    Page 2 of 3

II.    Amendments

       Section II of Executive Order D 2020 017 is amended to read as follows:

       1. Replace Paragraph II.B. with the following:

              I direct all Coloradans to stay at home, unless necessary to provide, support,
              perform, or operate Necessary Activities, Minimum Basic Operations, Critical
              Government Functions, Necessary Travel or Critical Businesses as such terms are
              defined in PHO 20-24, as amended, or any PHO issued pursuant to this Executive
              Order.

       2. Strike Paragraph II.D.1.e.

       3. Add a new Paragraph II.E. that states the following:

              Nothing in this Executive Order prevents a local public health authority from
              issuing an order more protective of public health than this Executive Order. To
              the extent that provisions in a local public health order are more protective of
              public health than this Executive Order or PHO 20-24, as amended, or any PHO
              issued pursuant to this Executive Order, such provisions in the local public health
              order shall remain in full force and effect.

III.   Duration

        Executive Order D 2020 017, as amended and extended by this Executive Order, expires
on April 26, 2020, unless modified, rescinded, or extended further by Executive Order. In all
other respects, Executive Order D 2020 017 shall remain in full force and effect as originally
promulgated.



                                                           GIVEN under my hand and the
                                                           Executive Seal of the State of
                                                           Colorado, this sixth
                                                           day of April, 2020




                                                           Jared Polis
                                                           Governor




                                                                                         Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 397 of 424




                                                   Filed and Attested by the
                                                  Office of Judicial Records
                                                      14 NOV 2020 05:06 pm
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         EXHIBIT 13




                                                                Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 398 of 424

                       DALLAS COUNTY


          AMENDED ORDER OF COUNTY JUDGE CLAY JENKINS
                                Safer At Home Order
                      DATE AMENDED ORDER ISSUED: April 23, 2020

WHEREAS, pursuant to Texas Government Code Section 418.108, Dallas County Judge Clay
Jenkins issued a Declaration of Local Disaster for Public Health Emergency on March 12, 2020,
due to a novel coronavirus now designated SARS-CoV2 which causes the disease COVID-19;

WHEREAS, on March 12, 2020, Judge Jenkins issued an Order in furtherance of his authority to
protect the safety and welfare of the public by slowing the spread of the virus;

WHEREAS, the on-going evaluation of circumstances related to the virus and the updated
recommendations of the Centers for Disease Control and the Texas Department of State Health
Services warrant the March 12, 2020 Order of County Judge Clay Jenkins be amended;

WHEREAS, on March 16, 2020, President Trump acknowledged the gravity of the COVID-19
pandemic, releasing strict new guidelines to limit people’s interactions, including that Americans
should avoid groups of more than 10 people;

WHEREAS, on March 19, 2020, the Dallas County Commissioners Court issued an Order of
Continuance of Declaration of Local Disaster for Public Health Emergency that affirmed the
activation of the Dallas County Emergency Management Plan and extends the Declaration of Local
Disaster until 11:59 p.m. on May 15, 2020, unless rescinded by order of the Commissioners Court.

WHEREAS, on March 24, 2020, the World Health Organization indicated that the United States
has the potential to become the center of the COVID-19 pandemic;

WHEREAS, this Emergency Order is necessary because of the propensity of the virus to spread
person to person and also because the virus is physically causing property damage due to its
proclivity to attach to surfaces for prolonged periods of time;

WHEREAS, this Emergency Order is necessary to protect the lives, health, welfare, and safety of
the County’s residents from the devastating impacts of this pandemic;

THEREFORE, the March 12, 2020, Order of County Judge Clay Jenkins is hereby AMENDED
as follows:

Summary: The virus that causes 2019 Coronavirus Disease (COVID-19) is easily transmitted
through person to person contact, especially in group settings, and it is essential that the spread of
the virus be slowed to protect the ability of public and private health care providers to handle the
influx of new patients and safeguard public health and safety. Because of the risk of the rapid
spread of the virus, and the need to protect the most vulnerable members of the community, this
Order requires all individuals anywhere in Dallas County to shelter in place – that is, stay at home
– except for certain essential activities and work to provide essential business and government
services or perform essential public infrastructure construction, including housing. This Order

                                                  1
                                                                                            Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 399 of 424

                      DALLAS COUNTY


takes effect Noon on April 23, 2020 and will continue through 11:59 p.m. on May 15, 2020, subject
to the limited exceptions and under the terms and conditions more particularly set forth below.

UNDER THE AUTHORITY OF TEXAS GOVERNMENT CODE
SECTION 418.108, DALLAS COUNTY JUDGE CLAY JENKINS ORDERS:

   1. Effective as of Noon on April 23, 2020, and continuing until 11:59 p.m. on May 15, 2020:
              (a) All individuals currently living within Dallas County are ordered to shelter at
                  their place of residence. For the purposes of this Order, residences include
                  hotels, motels, shared rentals, and similar facilities. To the extent individuals
                  are using shared or outdoor spaces, they must at all times as reasonably as
                  possible maintain social distancing of at least six feet from any other person
                  when they are outside their residence. All persons may leave their residences
                  only for Essential Activities, Reopened Services, or to provide or perform
                  Essential Governmental Functions, or to operate Essential Businesses, all as
                  defined in Section 2.
              (b) All businesses operating within Dallas County, except Essential Businesses and
                  Reopened Services as defined in below in Section 2, are required to cease all
                  activities at facilities located within the County except Minimum Basic
                  Operations as defined in Section 2. For clarity, businesses may continue
                  operations consisting exclusively of employees or contractors performing
                  activities at their own residences (i.e. working from home). To the greatest
                  extent possible, all Essential Businesses shall comply with the Social
                  Distancing Rules attached, including maintaining six feet social distancing for
                  both employees and the general public.
              (c) Employees of Essential Businesses and Reopened Services, whose physical
                  presence at the workplace is not essential to operations, are directed to use
                  telecommuting to the fullest extent possible.
              (d) All public or private gatherings of any number of people occurring outside a
                  single household or living unit are prohibited, except as otherwise provided
                  herein. Nothing in this Order prohibits the gathering of members of a household
                  or living unit.
   2. Definitions:
          a. For purposes of this Order, individuals may leave their residence only to perform
              any of the following “Essential Activities”:
                   i. To engage in activities or perform tasks essential to their health and safety,
                      or to the health and safety of their family or household members (for
                      example, obtaining medical supplies or medication, visiting a health care
                      professional, or obtaining supplies need to work from home).
                  ii. To obtain necessary services or supplies for themselves and their family or
                      household members, or to deliver those services or supplies to others (for
                      example, food, pet supply, and any other household consumer products, and
                      products necessary to maintain the safety, sanitation, and essential operation
                      of residences.



                                                2
                                                                                          Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 400 of 424

              DALLAS COUNTY


        iii. To engage in outdoor activity, provided the individuals comply with social
              distancing requirements of six feet (for example, walking, biking, hiking,
              running, golfing, and tennis).
         iv. To perform work providing essential products and services at an Essential
              Business or to otherwise carry out activities specifically permitted in this
              Order.
          v. To care for a family member or pet in another household.
         vi. To move to another residence either in or outside Dallas County.
        vii. To engage in “Essential Travel,” which includes travel for any of the
              following purposes: (1) travel related to the provision of or access to
              Essential Activities, Essential Governmental Functions, Essential
              Businesses, Reopened Services, Essential Critical Infrastructure, and
              Minimum Basic Operation; (2) travel to care for elderly, minors,
              dependents, persons with disabilities, or other vulnerable persons; (3) travel
              to or from educational institutions for purposes of receiving materials for
              distance learning, for receiving meals, and any other related services; (4)
              travel to return to a place of residence from outside the jurisdiction; (5)
              travel required by law enforcement or court order; (6) travel by church staff
              or clergy for the purpose of production of remote delivery of religious
              services and other ministries requiring travel; (7) travel related to attending
              a funeral service; or (8) travel required for non-residents to return to their
              place of residence outside the County.
   b. For purposes of this Order, “Reopened Services” means:
           i. Retail services that are not “Essential Businesses” under this Order.
          ii. Effective 12:01 a.m. on Friday, April 24, 2020, Reopened Services shall be
              provided only through pickup, delivery by mail, or delivery to the
              customer’s doorstep. Customers may not enter the premises.
        iii. All Reopened Services shall comply with the following requirements:
                  1. All employees must be trained on environmental cleaning and
                      disinfection, hand hygiene, and respiratory etiquette.
                  2. All employees must be screened before coming into the business for
                      new or worsening cough; shortness of breath; sore throat; loss of
                      taste or smell; feeling feverish or a measured temperature greater
                      than or equal to 100.0 degrees Fahrenheit; or known close contact
                      with a person who is lab-confirmed to have COVID-19. Any
                      employee who meets any of these criteria must be sent home.
                  3. Employers must provide soap and water, or hand sanitizer if no soap
                      or water is available, in the workplace, including all restrooms and
                      food preparation areas.
                  4. Employees must wash their hands for at least twenty (20) seconds
                      before beginning work, after each interaction with a customer,
                      before any food preparation, before and after the use of shared items,
                      after any meal or restroom breaks, and immediately prior to the end
                      of the work shift.
                  5. All employees must wear face coverings.

                                         3
                                                                                   Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 401 of 424

              DALLAS COUNTY


                  6. Employees must maintain at least 6 feet separation from one
                      another.
         iv. All Reopened Services providing services through Retail-to-Go shall
              comply with the following conditions:
                  1. All payments shall be done over the phone or internet if possible,
                      and contact shall be minimized if remote payment is not available.
                  2. Purchased items shall be delivered by the employee to the backseat
                      or trunk of the customer’s vehicle whenever possible to minimize
                      physical contact with the customer.
                  3. Employees must wash or sanitize their hands after each interaction
                      with a customer, and whenever possible, must disinfect any item that
                      came into contact with the customer.
          v. All Reopened Services providing services through delivery to a customer’s
              residence or business shall comply with the following conditions:
                  1. All payments shall be done over the phone or internet if possible,
                      and contact shall be minimized if remote payment is not available.
                  2. Purchased items shall be delivered by an employee or third-party
                      carrier and delivered to the customer’s residence or business. The
                      employee or third-party carrier may not enter the customer’s house
                      or business.
         vi. All Reopened Services providing services through delivery by mail shall
              comply with the following conditions:
                  1. All payments must be done over the phone or internet.
                  2. Purchased items shall be delivered by mail without customer
                      contact.
   c. For purposes of this Order, “Essential Businesses” means:
           i. Essential Healthcare Operations. Healthcare Operations includes but is
              not limited to hospitals, clinics, dentists, chiropractors, physical therapy,
              optometry offices, pharmacies, pharmaceutical and biotechnology
              companies, other healthcare facilities, healthcare suppliers, mental health
              providers, substance abuse service providers, blood banks, medical
              research, laboratory services, certified doulas, or any related and/or
              ancillary healthcare services. Home-based and residential-based care for
              seniors, adults, or children are also considered healthcare operations.
              Healthcare operations also includes veterinary care and all health and
              welfare services provided to animals. This exemption shall be viewed
              broadly to avoid any impacts to the delivery of healthcare. Healthcare
              operations do not include fitness and exercise gyms, personal training,
              gymnastics studios, and similar facilities. Healthcare operations do not
              include elective medical, surgical, and dental procedures as established in
              accordance with Subsection 1(e) of this Order.
          ii. Essential Governmental Functions. All services provided by local
              governments needed to ensure the continuing operation of the government
              agencies to provide for the health, safety and welfare of the public. Each
              governmental body will determine its Essential Governmental Functions

                                        4
                                                                                  Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 402 of 424

               DALLAS COUNTY


               and identify the employees and/or contractors necessary to the performance
               of those functions. Further, nothing in this order shall prohibit any
               individual from performing or accessing “Essential Governmental
               Functions.” All Essential Governmental Functions shall be performed in
               compliance with social distancing requirements of six feet, to the extent
               possible. This Order does not apply to Federal or State Government.
        iii.   Essential Critical Infrastructure. All public and private facilities and
               assets, including both physical and cyber systems, and other functions and
               sectors vital to the security, governance, and public health, safety of Dallas
               County. Critical infrastructure includes, but is not limited to, utilities such
               as electricity, gas, water and wastewater, roads and highways, public
               transportation, solid waste and recycle collection and removal, oil refining,
               roads and highways, public transportation, defense and national security-
               related operations, and manufacturing operations suppling essential items
               to Essential Businesses, Essential Governmental Functions, and Critical
               Infrastructure. All manufacturers and distributors shall comply with the
               Rules for Manufacturers and Distributors set out in Exhibit C. Critical
               Infrastructure employers should implement screening precautions to protect
               employees and all activity shall be performed in compliance with social
               distancing guidelines attached. For reference, the U.S. Department of
               Homeland Security in its Guidance on the Essential Critical Infrastructure
               Workforce,         Version       2.0,      can       be      found        here:
               https://www.cisa.gov/publication/guidance-essential-critical-
               infrastructure-workforce
        iv.    Stores that Sell Groceries and Other Essential Supplies. Grocery stores,
               supermarkets, warehouse stores, big-box stores, bodegas, liquor stores,
               convenience stores, and farmers’ markets that sell food products and
               household consumer products (such as cleaning and personal care
               products). This includes stores that sell groceries and also sell other non-
               grocery products. The sale of self-service food items is prohibited. Stores
               that sell groceries and other essential supplies shall comply with the Rules
               for Essential Retail Establishments set out in Exhibit A.
         v.    Restaurants. Restaurants with or without drive-in or drive-through services
               and microbreweries, micro-distilleries, or wineries may only provide take
               out, delivery, or drive-through services as allowed by law. In-person service
               is prohibited. Customers may order and pay inside, but are prohibited from
               waiting inside the restaurant for their food. All food must be brought outside
               to customers. To allow for increased access to restaurants, this Order hereby
               suspends all laws and regulations prohibiting people from walking in a
               drive-through.
        vi.    Food Cultivation. Food cultivation, including farming, fishing, and
               livestock.
        vii.   Delivery of Groceries and Essential Supplies. Businesses that ship or
               deliver groceries, food, hygiene products, and essential supplies directly to


                                         5
                                                                                    Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 403 of 424

               DALLAS COUNTY


               residences or essential businesses. All businesses that deliver groceries and
               essential supplies shall comply with the rules set out in Exhibit E.
       viii.   Transportation. Operation, maintenance, and repair of airlines, taxis, and
               other private transportation providers (such as Uber and Lyft) that provide
               transportation services necessary for the performance of essential activities
               and essential travel.
        ix.    Gas Stations and Businesses Needed for Transportation. Gas stations,
               auto dealers, auto-supply stores, auto-repair, and bicycle repair. Gas stations
               and convenience stores are prohibited from selling self-service food items.
               Gas stations and businesses needed for transportation shall comply with the
               Rules for Essential Retail Establishments set out in Exhibit A.
         x.    Critical Trades. Plumbers, electricians, exterminators, janitors, lawn care
               services, pool cleaners, maintenance and security, and other service
               providers who provide services that are necessary to maintaining the safety,
               sanitation, and essential operations of residences, Essential Businesses,
               Essential Government Functions, and Critical Infrastructure. Critical Trade
               does not include discretionary maintenance or improvements. Union
               representatives and their staff for the purpose of performing critical labor
               union functions, including the maintenance of health and welfare funds and
               checking on the well-being and safety of members.
        xi.    Construction. Construction for public works, residential, commercial, and
               schools. Elective additions and maintenance are prohibited. Protecting
               construction worker from the spread of COVID19 is extremely important
               for their safety and for public health, all construction sites must follow the
               COVID-19 Safety Recommendations issued by the Construction Industry
               Safety Coalition, including, but not limited to, the Rules for Construction
               Industry set out in Exhibit B. Failure to strictly comply with this Order can
               result in penalties described below. Additionally, the general contractor and
               non-compliant subcontractor can be removed from the essential business
               list.
        xii.   Professional Services. Professional services, such as legal or accounting
               services, when necessary to assist in compliance with legally mandated
               activities or services necessary to avoid imminent harm to a client. Real
               estate and inspection services, so long as they comply with the rules set out
               in Exhibit F.
       xiii.   Financial Institutions. Banks and related depository financial institutions,
               credit unions, insurance companies, title companies, payroll and accounting
               services. Check cashing businesses and pawnshops so long as they comply
               with the rules set out in Exhibit D. A copy of Exhibit D must be prominently
               displayed in each establishment in English and Spanish and a copy must
               also be provided to each customer in the customer’s preferred language.
       xiv.    Information Technology Services/Telecommunications Services. IT and
               IT services and their essential service vendors, including the provision of
               essential global, national, and local infrastructure for computing services,
               business infrastructure, communications, and web-based services, and

                                         6
                                                                                    Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 404 of 424

               DALLAS COUNTY


               critical manufacturing, as well as telecommunications services, internet
               access and broadband/communications services.
        xv.    Essential Retail. Laundromats, dry cleaners, and laundry service providers,
               hardware stores, and related facilities. Firearm and ammunition suppliers
               and retailers for purposes of safety and security. Hardware stores and
               business that sell electrical, plumbing, and other materials necessary to
               support Essential Businesses, and Essential Government Functions, and
               Critical Infrastructure. Essential retail establishments shall comply with the
               Rules for Essential Retail Establishments set out in Exhibit A.
       xvi.    Fabric Stores. Stores that sell fabric, for the sole purpose of selling fabric
               and supplies necessary for the creation of fabric cloth coverings and masks
               and supplies necessary for home schooling students. Stores that sell fabric
               shall comply with the Rules for Essential Retail Establishments set out in
               Exhibit A.
       xvii.   Hotels and Motels. Hotels and motels, to the extent used for lodging or
               delivery or carry-out food services.
      xviii.   Short-Term Rentals. Short-term rental of all or part of a residential
               property to a person who is not a permanent resident is prohibited. Within
               the meaning of this Order, a “permanent resident” is a person who has the
               right to use or possess a room at the residential property for at least 30
               consecutive days, so long as there is no interruption of payment for the
               period. This Order does not prohibit short-term rental to hospital employees
               or other licensed healthcare professionals, military personnel, law
               enforcement personnel, government employees, or Dallas County residents
               who need a place to self-quarantine away from their family and/or
               roommates. Renters currently occupying short-term rental properties shall
               be permitted to complete the current rental contract but are required to
               follow the requirements of this order
       xix.    Providers of Basic Necessities to Economically Disadvantaged
               Populations. Businesses or organizations that provide food, shelter, and
               social services, and other necessities of life for economically disadvantaged
               or otherwise needy individuals.
        xx.    Essential Services Necessary to Maintain Essential Operations of
               Residences or Other Essential Businesses. . Businesses or services that
               supply other Essential Businesses, Essential Government Services, and
               Critical Infrastructure with the support or supplies needed to operate;
               including but not limited to mail, shipping and delivery services,
               warehouse/distribution and fulfillment, storage, moving services, janitorial
               services, laundry services, computer, audio or video electronics, sanitary
               equipment, and medical equipment.. To the extent possible, services shall
               be provided in compliance with Social Distancing Rules attached,
               including distancing of six feet and routine use of hand sanitizer. All
               employers that are common carriers, motor carriers, private carriers,
               shippers, delivery services, moving companies and contract carriers that
                                         7
                                                                                   Case ID: 201101371
Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 405 of 424

              DALLAS COUNTY


             load or unload cargo, supplies, equipment or goods at any point located in
             Dallas County shall comply with the rules set out in Exhibit E.
        xxi. Supplies to Work From Home and Home School Students. Businesses
             that supply products needed for people to work from home and stores that
             sell supplies necessary for home schooling students. Stores that sell
             supplies for people to work from home shall comply with the Rules for
             Essential Retail Establishments set out in Exhibit A.
       xxii. Public and Private Education. All schools are closed to in-person
             classroom attendance and shall not recommence before the end of the 2019-
             2020 school year. Public and private educational institutions may operate
             in-person only for the purposes of facilitating distance learning or
             performing essential functions, provided compliance with the Social
             Distancing Rules is maintained.
      xxiii. News Media. Newspapers, television, radio, and other media services.
       xxiv. Childcare Services. Childcare facilities providing services or community
             service providers offering childcare services under the following
             mandatory conditions:
                 1. Childcare services shall only be provided to employees of Essential
                     Businesses;
                 2. Childcare must be carried out in stable groups of 12 or fewer
                     (“stable” means that the same 12 or fewer children are in the same
                     group each day);
                 3. Children shall not change from one group to another;
                 4. If more than one group of children is cared for at one facility, each
                     group shall be in a separate room. Groups shall not mix with each
                     other;
                 5. Childcare providers shall remain solely with one group of children.
        xxv. Animal Care Services. Animal shelters, veterinary care, and pet food and
             supply stores. Grooming, if necessary for the health and wellbeing of the
             animal. Pet daycare, but only for employees of Essential Businesses. To the
             greatest extent possible, all services must be performed in compliance with
             social distancing requirements of six feet. Pet food and supply stores shall
             comply with the Rules for Essential Retail Establishments set out in Exhibit
             A.
       xxvi. Religious and Worship Services. The Office of the Dallas County Judge
             and the Health Authority strongly encourage religious and worship
             services be provided by audio, video, and teleconference whenever
             possible and that all individuals follow all CDC and County Social
             Distancing Guidelines including the six feet social distancing rule.
      xxvii. Funeral Services. Funeral, mortuary, cremation, burial, cemetery, and
             related services, provided that social distancing of six feet per person is
             maintained to the greatest extent possible.
   d. For purposes of this Order, Minimum Basic Operations means the following,
      provided that employees comply with the Social Distancing Rules:

                                       8
                                                                                Case ID: 201101371
     Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 406 of 424

                    DALLAS COUNTY


                  i. The minimum necessary activities to maintain the value of the business's
                     inventory, ensure security, process payroll and employee benefits, or for
                     related functions.
                 ii. The minimum necessary activities to facilitate employees of the business
                     being able to continue to work remotely from their residences.
         e. Covering of Nose and Mouth: Because an infected person can transmit the
             COVID-19 virus to others before showing any symptoms, the covering of a
             person’s nose and mouth is necessary to help slow the spread of the virus. Effective
             at 11:59 p.m. on April 17, 2020, to the greatest extent possible all persons over the
             age of two (2) shall wear some form of covering over their nose and mouth, such
             as a homemade mask, scarf, bandana or handkerchief, when patronizing an
             Essential Business or using public transportation pursuant to the rules outlined in
             Exhibit G. Parents and Guardians of children under 10 shall be responsible for
             appropriately masking children pursuant to this Order. To the greatest extent
             possible, all non-medical employees who work at an Essential Businesses or
             perform services that are exempt under this Order must wear face coverings over
             their noses and mouths while performing their work. An owner or operator of an
             Essential Business may refuse admission or service to any individual who fails to
             wear face covering. Wearing a face covering is not a substitute for maintaining 6-
             feet social distancing and hand washing, as these remain important steps to slowing
             the spread of the virus. The enforcement provisions set forth in Section 3 of this
             Order shall not apply to any violation of this provision or Exhibit G and no law
             enforcement officer shall stop, detain, or arrest any person based on any such
             violation.
3.   The Dallas County Sheriff’s Office, the Dallas County Fire Marshal’s Office, and other
     peace officers, are hereby authorized to enforce this Order. A violation of this order may
     be punishable through criminal or civil enforcement. A violation of this Order is a
     misdemeanor punishable by a fine not to exceed $1,000 and/or confinement in jail for a
     term not to exceed 180 days.
4.   Any manufacturer who retools their business for the purpose of manufacturing and
     producing ventilators, masks, personal protective equipment, or any supply necessary for
     Essential Healthcare Operations may apply for an “essential business” exemption under
     this Order. Apply for a business exemption at https://www.dallascounty.org/covid-
     19/ways-to-help.php under the “Apply for an Essential Business Exemption” tab.
5.   All Coronavirus Aid, Relief, and Economic Security Act (CARES Act) Recovery
     Payments to individuals shall be exempt from “garnishment” as that term is described in
     Chapter 63 of the Texas Civil Practice and Remedies Code, except for garnishment for
     child support payments. All CARE Act Payments shall remain exempt from garnishment
     when deposited into an account in a financial institution. This provision is enacted to ensure
     Dallas County residents can use their CARES Act Recovery Payments for their housing,
     food, medical and other essential needs during the COVID-19 emergency period.
6.   All public, private, and commercial laboratories operating within Dallas County and
     performing COVID-19 testing shall report by 5:00 p.m. each day for the prior 24-hour
     period:

                                               9
                                                                                         Case ID: 201101371
   Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 407 of 424

                   DALLAS COUNTY


       a. The number of COVID-19 tests performed; and
       b. The number of positive COVID-19 tests.
   Reports shall be made to Dallas County Judge Clay Jenkins at
   Clay.Jenkins@dallascounty.org and Dallas County Health and Human Services Director
   Dr. Philip Huang at Philip.Huang@dallascounty.org. Reporting laboratories shall not
   provide names or any other identifiable health information that could be used to identify
   an individual patient.
7. Door-to-door solicitation creates an unnecessary face-to-face situation for residents who
    are home in greater numbers due to the closure of schools and businesses, potentially
    endangering the health of residents. Under this Order, door-to-door solicitation is
    prohibited, including the leaving of written materials on the door or mailbox of a residence.
    This provision does not apply to any business in the grocery supply chain or any non-profit
    providing community resources for those effected by the coronavirus. Nothing in this Order
    prohibits utility companies or government agencies from contacting individuals at their
    residences to perform their normal business functions.
8. Employers shall not implement any rules making a negative COVID-19 test or a note from
    a healthcare provider a requirement before a COVID-19 recovered employee can return to
    work.
9. Under this Order, no person shall sell any of the following goods or services for more than
    the regular retail price the person charged for the goods or services on March 16, 2020,
    except where an increased retail price is the result of increased supplier or other costs
    (including the loss of supplier supporting funds):
        a. groceries, beverages, toilet articles, and ice;
        b. restaurant, cafeteria, and boarding-house meals; and
        c. medicine, pharmaceutical and medical equipment, and supplies.
10. Grocery stores, supermarkets, warehouse stores, hospitals, and medical facilities are
    experiencing high levels of demand for a large number of products, requiring more
    deliveries from manufacturers and distribution centers to serve their customers. A number
    of Texas cities and local associations have implemented restrictions on delivery hours to
    stores to mitigate truck noise and traffic. Due to the need to deliver products as quickly and
    efficiently as possible during this critical timeframe, this Order hereby suspends all
    delivery hour restrictions for transport to or from any entity involved in the selling or
    distribution of food products, medicine, or medical supplies in Dallas County for the next
    60 days.
11. Due to increased demand for bath or toilet tissue resulting from stock up buying and
    individuals who purchase for resale, a mandatory limit on toilet paper sales is instituted
    until the supply chain meets the demand or two weeks, whichever comes first. All sales of
    bath or toilet tissue occurring in Dallas County are limited to the greater of: (a) twelve (12)
    rolls per purchase or (b) one (1) package per purchase. This provision does not apply to the
    sale of bath or tissue paper to a government organization or essential business.
12. Due to the public health emergency, the Office of the Dallas County Judge hereby advises
    the Dallas County Justices of the Peace to suspend eviction hearings and writs of

                                              10
                                                                                         Case ID: 201101371
    Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 408 of 424

                     DALLAS COUNTY


      possession for at least the next 60 days to prevent renters from being displaced. Nothing in
      the moratorium relieves tenants of liability for unpaid rent. Landlords should cap late fees
      for delayed payment of rent at fifteen dollars ($15) per month.
  13. If someone in a household has tested positive for coronavirus, the household is ordered to
      isolate at home. Members of the household cannot go to work, school, or any other
      community function, except for workers included in Essential Healthcare Operations who
      may continue to work in accordance with CDC guidance.
  14. Nursing homes, retirement, and long-term care facilities are instructed by this Order to
      prohibit non-essential visitors from accessing their facilities unless to provide critical
      assistance or for end-of-life visitation.
  15. Public and private schools and institutions of higher education are instructed by this Order
      to provide a safety plan to Dallas County Office of Homeland Security and Emergency
      Management 72 hours before students return to a classroom setting.
  16. Additionally, the Office of the Dallas County Judge and the Health Authority instructs all
      employees to remain at home if sick. Employees of private businesses and nonprofits with
      six (6) or more employees in the City of Dallas can use their paid sick leave when they are
      sick or to care for sick family members.
  17. This Order shall be in effect until 11:59 p.m. on April 30, 2020, or until it is either
      rescinded, superseded, or amended pursuant to applicable law.
  18. The County of Dallas must promptly provide copies of this Order by posting on the Dallas
      County Health and Human Services website. In addition, the owner, manager, or operator
      of any facility that is likely to be impacted by this Order is strongly encouraged to post a
      copy of this Order onsite and to provide a copy to any member of the public asking for a
      copy. If any subsection, sentence, clause, phrase, or word of this Order or any application
      of it to any person, structure, gathering, or circumstance is held to be invalid or
      unconstitutional by a decision of a court of competent jurisdiction, then such decision will
      not affect the validity of the remaining portions or applications of this Order.

IT IS SO ORDERED

CLAY JENKINS
DALLAS COUNTY JUDGE




                                              11
                                                                                         Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 409 of 424

                       DALLAS COUNTY


                                          EXIBIT A

                               Rules for Essential Retailers
Reason for Rules. The purpose of these rules is to outline the steps that every employer and
employee must take to reduce the risk of exposure to COVID-19. The rules describe how to prevent
worker exposure to coronavirus and protective measures to be taken in all establishments.
Definition of Essential Retailers.
1. Stores that Sell Groceries and Other Essential Supplies. Grocery stores, supermarkets,
   warehouse stores, big-box stores, bodegas, liquor stores, convenience stores, and farmers’
   markets that sell food products and household consumer products (such as cleaning and
   personal care products). This includes stores that sell groceries and also sell other non-grocery
   products.
2. Gas Stations and Businesses Needed for Transportation. Gas stations, auto dealerships, auto-
   supply stores, auto-repair, and bicycle repair.
3. Other Essential Retailers. Stores that sell supplies necessary for the creation of fabric cloth
   coverings and masks and supplies necessary for home schooling students. Pet food and supply
   stores. Laundromats, dry cleaners, and laundry service providers, hardware stores, and related
   facilities. Firearm and ammunition suppliers and retailers for purposes of safety and security.
   Hardware stores and business that sell electrical, plumbing, and other materials necessary to
   support Essential Businesses, and Essential Government Functions, and Critical Infrastructure.
Safety Rules for All Essential Retailers. All employers involved in essential retail activity must
follow the requirements set forth in the rules below:
1. All employees must take their temperature at their residence before going to an Essential
   Retailer. If an employee has a temperature above 99.6 degrees Fahrenheit, then they are
   prohibited from going to work and must remain at their residence;
2. To the greatest extent possible and as equipment becomes available, an Essential Retailer must
   implement a system whereby supervisors must check the temperature of all employees with a
   forehead thermometer before the employee begins work. If an employee has a temperature
   above 99.6 degrees Fahrenheit, then they are not permitted to work and must be sent home
   immediately;
3. Gatherings during meals or breaks are prohibited;
4. Employees must keep a 6 foot distance between people at all times, unless the work being
   performed requires multiple individuals for the safety of the employees;
5. Employers must allow non-essential personnel to work from home when possible;
6. Employers must provide soap and water, or hand sanitizer if no soap or water is available, in
   the workplace, including all restrooms and food preparation areas. Ensure that adequate
   supplies are maintained;




                                                12
                                                                                           Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 410 of 424

                       DALLAS COUNTY


7. Employees must wash their hands for at least twenty (20) seconds before beginning work,
    before any food preparation, before and after the use of shared items, after any meal or restroom
    breaks, and immediately prior to the end of the work shift.
8. Rest breaks of at least fifteen (15) minutes for every four (4) hours worked must be provided
    so employees may follow hygiene guidelines;
9. There shall be no adverse action taken against an employee who has, due to possible exposure
    to coronavirus, (1) been quarantined or advised to self-quarantine; (2) have not reported to
    work because the employee has a temperature of 99.6 degrees or higher; and (3) requested to
    use paid sick leave under the employer’s policy; and
10. Employers must designate both a member of management as the COVID-19 Safety Monitor
    and a senior hourly worker (that is not a member of management) as the COVID-19 Vice
    Safety Monitor at each store to have the authority to work together to enforce these rules.
    Employers in unionized workplaces should consult with the employee’s representatives on this
    designation.

General Rules for Essential Retailers.
   1. Employers shall implement an organized line system where employees, customers, and
      other persons are not less than six feet apart at all times;
   2. To the greatest extent practicable, designate shopping times for at risk populations (seniors,
      pregnant people, and people with underlying health conditions);
   3. To the greatest extent possible, implement a system to restrict the number of customers
      who are physically present at an Essential Retailer so that six foot spacing may be
      maintained;
   4. Employers shall implement purchase limits on high-demand items (toilet paper, soap, hand
      sanitizer). These purchase limits do not apply to a government organization or essential
      business;
   5. To the greatest extent possible, employers shall offer pick up services or delivery services
      of grocery items and other essential supplies; and
   6. Self-service food stations are prohibited. Self-service stations are defined as items that
      customers use common serving utensils to serve themselves, including but not limited to,
      salad bars, hot dog stands, self-service bulk food items, and other related food items. This
      section does not apply to self-checkout stations, so long as the checkout stations are cleaned
      at least every 30 minutes.


Enforcement. A violation of this Order is a misdemeanor punishable by a fine not to exceed
$1,000 and/or confinement in jail for a term not to exceed 180 days. Additionally, any essential
retailer who fails to strictly comply with these rules can be removed from the essential business
list and prohibited from operating in Dallas County.




                                                 13
                                                                                           Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 411 of 424

                      DALLAS COUNTY


                                        EXHIBIT B
                          Rules for the Construction Industry
Reason for Construction Rules. The purpose of these rules is to outline the steps that every
employer and employee must take to reduce the risk of exposure to COVID-19. The rules
describe how to prevent worker exposure to coronavirus, protective measures to be taken on the
jobsite, and cleaning and disinfecting procedures.
Construction as Critical Infrastructure. The Order classified construction for public works,
residential, commercial, and schools as critical infrastructure. Elective additions and
maintenance are prohibited.
Requirements for Construction. All employers involved in construction activity must follow
the requirements set forth in the COVID-19 Safety Recommendations issued by the Construction
Industry Safety Coalition, including the rules below:
   1. All workers and contractors (hereafter referred to as “workers”) must take their temperature
       at their residence. If a worker has a temperature above 99.6 degrees Fahrenheit, then they
       are prohibited from going to work and must remain at their residence;
   2. To the greatest extent possible, implement a system whereby supervisors must check the
       temperature of all workers and contractors with a forehead thermometer before the worker
       begins work. If n worker or contractor has a temperature above 99.6 degrees Fahrenheit,
       then they are to be sent home immediately;
   3. To the greatest extent possible, shift work must be implemented such that each shift shall
       have no more than fifty percent (50%) of the workers who were on shift on March 16,
       2020. Once assigned to a shift, workers shall not change from one shift to another;
   4. To the greatest extent possible, limit crossover of subcontractors;
   5. Gatherings during meals or breaks are prohibited;
   6. Workers must keep a 6 foot distance between people at all times, unless the work being
       performed requires multiple individuals for the safety of the workers;
   7. Workers must not use a common water cooler. Employers shall provide individual water
       bottles or instruct workers to bring their own;
   8. Employers must allow non-essential personnel to work from home when possible;
   9. Employers must provide soap and water and hand sanitizer in the workplace, including all
       restrooms. Ensure that adequate supplies are maintained;
   10. If running water is available at the site, workers must wash their hands for at least twenty
       (20) seconds before beginning work, when they remove gloves, and before and after the
       use of shared items such as tools or multi-user devices, before and after any meal or
       restroom breaks, and when their shift or work time ends.
   11. Rest breaks of at least fifteen (15) minutes for every four (4) hours worked must be
       provided so workers may follow hygiene guidelines;
   12. Employers must provide one (1) working flushing toilet for every fifteen (15) workers on
       site or one (1) outdoor portable toilet for every 10 workers on site;
   13. There shall be no adverse action taken against a worker who has, due to possible
       exposure to coronavirus, (1) been quarantined or advised to self-quarantine; (2) have not
                                               14
                                                                                          Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 412 of 424

                      DALLAS COUNTY


       reported to work because the worker has a temperature of 99.6 degrees or higher; and (3)
       requested to use paid sick leave under the employer’s policy; and
   14. Employers must designate a COVID-19 safety monitor on each site who has the authority
       to enforce these rules;


Enforcement. A violation of this Order is a misdemeanor punishable by a fine not to exceed
$1,000 and/or confinement in jail for a term not to exceed 180 days. Additionally, any general
contractor or subcontractor who fails to strictly comply with these rules can be removed from the
essential business list and prohibited from operating in Dallas County.




                                               15
                                                                                        Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 413 of 424

                       DALLAS COUNTY


                                         EXHIBIT C
                       Rules for Manufacturers and Distributors
Reason for Rules. The purpose of these rules is to outline the steps that every employer and
employee must take to reduce the risk of exposure to COVID-19. The rules describe how to prevent
worker exposure to coronavirus, protective measures to be taken on the jobsite, and cleaning and
disinfecting procedures.
Definition of Critical Manufacturers and Distributors. This Order defines Critical
Manufacturing and Distribution as the industries listed in the U.S. Department of Homeland
Security in its Guidance on the Essential Critical Infrastructure Workforce, Version 2.0.
Rules for Manufacturers and Distributors. All employers involved in critical manufacturing
and distribution activity must follow the requirements set forth in the rules below:
1. All employees must take their temperature at their residence before going to work at a
    manufacturing or distribution center. If a worker has a temperature above 99.6 degrees
    Fahrenheit, then they are prohibited from going to work and must remain at their residence;
2. To the greatest extent possible and as equipment becomes available, employers must
    implement a system whereby supervisors check the temperature of all employees before the
    employee begins work. If an employee has a temperature above 99.6 degrees Fahrenheit, then
    they are not permitted to work and must be sent home immediately;
3. Gatherings during meals or breaks are prohibited;
4. Employees must keep a six (6) foot distance between people at all times, unless the work being
    performed requires multiple individuals for the safety of the employees;
5. To the extent practicable, employers shall adjust shift timing to allow for greater physical
    distance between employees;
6. Employers must allow non-essential personnel to work from home when possible;
7. Employers must provide soap and water, or hand sanitizer if no soap or water is available, in
    the workplace, including all restrooms. Employers shall ensure that adequate supplies of soap
    and hand sanitizer are maintained;
8. Employees must wash their hands for at least twenty (20) seconds before beginning work,
    before any food preparation, before and after the use of shared items, after any meal or restroom
    breaks, and immediately prior to departing the work site.
9. Employers shall discourage employees from sharing work tools when possible.
10. Rest breaks of at least fifteen (15) minutes for every four (4) hours worked must be provided
    so employees may follow hygiene guidelines;
11. There shall be no adverse action taken against an employee who has, due to possible exposure
    to coronavirus, (1) been quarantined or advised to self-quarantine; (2) have not reported to
    work because the worker has a temperature of 99.6 degrees or higher; and (3) requested to use
    paid sick leave under the employer’s policy; and
12. Employers must designate both a member of management as the COVID-19 Safety Monitor
    and a senior hourly employee (that is not a member of management), or a non-management


                                                 16
                                                                                           Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 414 of 424

                      DALLAS COUNTY


   employee if an hourly employee is not available, as the COVID-19 Vice Safety Monitor at
   each site to have the authority to work together to enforce these rules. Employers in unionized
   workplaces should consult with the employee’s representatives on this designation.


Enforcement. A violation of this Order is a misdemeanor punishable by a fine not to exceed
$1,000 and/or confinement in jail for a term not to exceed 180 days. Additionally, any
manufacturer and distributor who fails to strictly comply with these rules can be removed from the
essential business list and prohibited from operating in Dallas County.




                                               17
                                                                                         Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 415 of 424

                       DALLAS COUNTY


                                         EXHIBIT D

                              Rules for Financial Institutions
Reason for Rules. The purpose of these rules is to outline the steps that every employer and
employee must take to reduce the risk of exposure to COVID-19. The rules describe how to prevent
worker exposure to coronavirus, protective measures to be taken on the jobsite, and cleaning and
disinfecting procedures.
   1. Check Cashing Businesses
Application. For the purpose of this Order, “Check Cashing Business” means a person or entity
that for compensation engages, in whole or in part, in the business of cashing checks, drafts, money
orders, traveler’s checks or other instruments for the transmission or payment of money. This
Order does not apply to a retail seller engaged primarily in the business of selling consumer goods,
including consumables, to retail buyers that cash checks or issue money orders as a service to its
customers that is incidental to its main purpose or business.

Interest and Fees. Fees shall not exceed 2% of the amount of the check, draft, or money order, or
$2, whichever is greater. Interest on a loan or advance of money shall not exceed 15% per annum
of the total amount of the advance, provided that total fees associated with the loan do not exceed
$75, regardless of the name or type of charge. A check cashing business may charge only those
charges expressly authorized in this Order in connection with a loan or advance issued.

Safety Rules. All check cashing businesses must follow the requirements set forth in the rules
below:
    a) All employees must take their temperature at their residence before going to work. If an
       employee has a temperature above 99.6 degrees Fahrenheit, then they are prohibited from
       going to work and must remain at their residence;
    b) To the greatest extent possible and as equipment becomes available, employers must
       implement a system whereby supervisors must check the temperature of all workers and
       contractors with a forehead thermometer before the worker begins work. If a worker has a
       temperature above 99.6 degrees Fahrenheit, then they are to be sent home immediately;
    c) Employees must keep a 6 foot distance between people at all times, unless the work being
       performed requires multiple individuals for the safety of the workers;
    d) Employers shall restrict the number of customers physically present in the store to only
       those people necessary to complete the transaction as determined by the customer. All other
       individuals must remain outside the store while the transaction is completed;
    e) Employers must allow non-essential personnel to work from home when possible;
    f) Employers must provide soap and water, or hand sanitizer if no soap or water is available,
       in the workplace, including all restrooms and food preparation areas. Employers must
       ensure that adequate supplies are maintained;
    g) Employees must wash their hands for at least twenty (20) seconds before beginning work,
       before any food preparation, before and after the use of shared items, after any meal or
       restroom breaks, and immediately prior to the end of the work shift;

                                                18
                                                                                           Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 416 of 424

                      DALLAS COUNTY


   h) Rest breaks of at least fifteen (15) minutes for every four (4) hours worked must be
      provided so workers may follow hygiene guidelines; and
   i) There shall be no adverse action taken against a worker who has, due to possible exposure
      to coronavirus, (1) been quarantined or advised to self-quarantine; (2) have not reported to
      work because the worker has a temperature of 99.6 degrees or higher; and (3) requested to
      use paid sick leave under the employer’s policy.

   2. Pawnshops
Application. These rules apply to all locations or premises at which a pawnbroker regularly
conducts business.
Interest and Fees. Interest on a loan of money extended pursuant to a pawn transaction shall not
exceed 15% per annum of the total amount of the advance, provided that total fees associated with
the loan do not exceed $75, regardless of the name or type of charge. A pawnshop may charge
only those charges expressly authorized in this Order in connection with a pawnshop loan.
Minimum Term Length. A pawnshop shall hold the goods pledged as collateral for at least 120
days after the end of the Emergency Declaration issued by Judge Jenkins or the end of the
Emergency Declaration issued by Governor Abbott, whichever is later.
Safety Rules. All pawnshops must follow the requirements set forth in the rules below:
   a) All employees must take their temperature at their residence before going to work. If an
       employee has a temperature above 99.6 degrees Fahrenheit, then they are prohibited from
       going to work and must remain at their residence;
   b) To the greatest extent possible and as equipment becomes available, employers must
       implement a system whereby supervisors must check the temperature of all workers and
       contractors with a forehead thermometer before the worker begins work. If a worker has a
       temperature above 99.6 degrees Fahrenheit, then they are to be sent home immediately;
   c) Employees must keep a 6 foot distance between people at all times, unless the work being
       performed requires multiple individuals for the safety of the workers;
   d) Employers shall restrict the number of customers so that only one customer is physically
       present in the store at a time;
   e) Employers must allow non-essential personnel to work from home when possible;
   f) Employers must provide soap and water, or hand sanitizer if no soap or water is available,
       in the workplace, including all restrooms and food preparation areas. Employers must
       ensure that adequate supplies are maintained;
   g) Employees must wash their hands for at least twenty (20) seconds before beginning work,
       before any food preparation, before and after the use of shared items, after any meal or
       restroom breaks, and immediately prior to the end of the work shift;
   h) Rest breaks of at least fifteen (15) minutes for every four (4) hours worked must be
       provided so workers may follow hygiene guidelines; and
   i) There shall be no adverse action taken against a worker who has, due to possible exposure
       to coronavirus, (1) been quarantined or advised to self-quarantine; (2) have not reported to


                                                19
                                                                                          Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 417 of 424

                       DALLAS COUNTY


       work because the worker has a temperature of 99.6 degrees or higher; and (3) requested to
       use paid sick leave under the employer’s policy.

   3) Enforcement
Enforcement. A violation of this Order is a misdemeanor punishable by a fine not to exceed
$1,000 and/or confinement in jail for a term not to exceed 180 days. Additionally, any financial
institution who fails to strictly comply with these rules can be removed from the essential business
list and prohibited from operating in Dallas County.




                                                20
                                                                                           Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 418 of 424

                      DALLAS COUNTY


                                        EXHIBIT E

     Rules for Common Carriers, Shipper, Delivery Services, and Related
                               Companies
Reason for Rules. The purpose of these rules is to outline the steps that every employer and
employee must take to reduce the risk of exposure to COVID-19. The rules describe how to prevent
worker exposure to coronavirus, protective measures to be taken on the jobsite, and cleaning and
disinfecting procedures.
Definition of Common Carriers. All employers which are common carriers, motor carriers,
private carriers, shippers, delivery services, moving companies and contract carriers which load or
unload cargo, supplies, equipment or goods at any point located in Dallas County.
Rules for Common Carriers. All employers involved in trucking, shipping, delivery and moving
services, and related industries must follow the requirements set forth in the rules below:
   1. All employees must take their temperature at their residence before going to work. If a
       worker has a temperature above 99.6 degrees Fahrenheit, then they are prohibited from
       going to work and must remain at their residence;
   2. To the greatest extent possible and as equipment becomes available, employers must
       implement a system whereby supervisors check the temperature of all employees before
       the employee begins work. If an employee has a temperature above 99.6 degrees
       Fahrenheit, then they are not permitted to work and must be sent home immediately;
   3. Gatherings during meals or breaks are prohibited;
   4. Employees must keep a six (6) foot distance between people at all times, unless the work
       being performed requires multiple individuals for the safety of the employees;
   5. To the extent practicable, employers shall adjust shift timing to allow for greater physical
       distance between employees, including coordination between dispatch and scheduling so
       that there is no overlap between crews traveling to different locations;
   6. Employers must allow non-essential personnel to work from home when possible;
   7. Employers must provide soap and water, or hand sanitizer if no soap or water is available,
       in the workplace, including all restrooms. Employers shall ensure that adequate supplies of
       soap and hand sanitizer are maintained. Hand sanitizer must be available in each vehicle;
   8. Workers must wash their hands for at least twenty (20) seconds before beginning work,
       before any food preparation, before and after the use of shared items, after any meal or
       restroom breaks, and immediately prior to the end of the work shift;
   9. Employers must ensure that employees use gloves when handling shared tools or
       equipment (such as dollies, dock plates, and controls) and that employees wash their hands
       for at least 20 seconds after handling such tools or equipment;
   10. To the greatest extent possible, drivers and other personnel should stay in their vehicles
       while the vehicles are being loaded and unloaded, unless required for employee safety;



                                                21
                                                                                          Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 419 of 424

                      DALLAS COUNTY


   11. To the greatest extent possible, receipts, bills of lading, acknowledgements and other such
       documentation should be electronic so as minimize the need for personnel to physically
       sign and exchange documents;
   12. Rest breaks of at least fifteen (15) minutes for every four (4) hours worked must be
       provided so workers may follow hygiene guidelines;
   13. There shall be no adverse action taken against a worker who has, due to possible exposure
       to coronavirus, (1) been quarantined or advised to self-quarantine; (2) has not reported to
       work because the worker has a temperature of 99.6 degrees or higher; and (3) requested to
       use paid sick leave under the employer’s policy; and
   14. Employers must designate both a member of management and an employee who is not a
       member of management COVID-19 safety monitors at each of the business’s warehouses,
       yards or other locations who have the authority to work together to enforce these rules.
       Employers in unionized workplaces should consult with the employee’s representatives on
       this designation.
Enforcement. A violation of this Order is a misdemeanor punishable by a fine not to exceed
$1,000 and/or confinement in jail for a term not to exceed 180 days. Additionally, any common
carrier or related business who fails to strictly comply with these rules can be removed from the
essential business list and prohibited from operating in Dallas County.




                                               22
                                                                                         Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 420 of 424

                      DALLAS COUNTY


                                        EXHIBIT F

                               Rules for Real Estate Agents
Reason for Rules. The purpose of these rules is to outline the steps that every Agent/Employee
must take to reduce the risk of exposure to COVID-19. The rules describe how to prevent exposure
to coronavirus and protective measures to be taken in all real estate showing.
Definition of Real Estate Activity. For the purposes of this Order, real estate activity includes
any activity governed by the Texas Real Estate License Act, the Inspector Act, the Residential
Service Company Act, and the Timeshare Act.
Safety Rules for All Real Estate Agents/Employees. All realtors and their employees involved
in essential real estate activity must follow the requirements set forth in the rules below:
   1. Open Houses are prohibited;
   2. All realtors and their employees (hereafter referred to as “realtors”) must take their
      temperature at their residence prior to any real estate showing. If an agent has a temperature
      above 99.6 degrees Fahrenheit, they are prohibited from participating in any real estate
      showings and must remain at their residence;
   3. Realtors and clients must travel to showings in separate vehicles;
   4. Realtors, clients, and homeowners must follow the six-foot social distancing rule at all
      times;
   5. Realtors and staff should limit in person contact and conduct business remotely as much
      as possible;
   6. Realtors must wear a protective mask and provide new, unused protective masks to clients
      when touring a site;
   7. Employers must designate a COVID-19 safety monitor at each real estate office who has
      the authority to enforce these rules;

Enforcement. A violation of this Order is a misdemeanor punishable by a fine not to exceed
$1,000 and/or confinement in jail for a term not to exceed 180 days. Additionally, any realtor who
fails to strictly comply with these rules can be removed from the essential business list and
prohibited from operating in Dallas County.




                                                23
                                                                                           Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 421 of 424

                       DALLAS COUNTY


                                        EXHIBIT G
                        Guidance on Covering Nose and Mouth

A significant percentage of individuals with the COVID-19 virus lack symptoms. Because an
infected person can transmit the virus to others before showing any symptoms, the covering of a
person’s nose and mouth when visiting an Essential Business is necessary to help prevent the
spread of COVID-19. This is consistent with the findings of the CDC and Dallas County Health
Authority.

Staying home is the best way to help reduce the spread of the virus, but if an individual must leave
their place of residence to visit an Essential Business, wearing a fabric face mask shall be used as
outlined in this Order. Wearing a face covering is not a substitute for maintaining 6-feet social
distancing and hand washing, as these remain important steps to slowing the spread of the virus.
The face coverings recommended are not surgical masks or N-95 respirators, which are critical
supplies that must continue to be reserved for healthcare workers and first responders.

The public in general and Essential Business employees shall comply with the following:
   A. To the greatest extent possible, all persons over the age of two (2) shall wear some form of
      covering over their nose and mouth, such as a homemade mask, scarf, bandana or
      handkerchief, when:
          1) patronizing an Essential Business; and
          2) using public transportation, taxis, or ride shares.
   B. This section shall not apply to persons that are:
          1) riding in a personal vehicle;
          2) that are alone in a separate single space;
          3) that are in the presence only of other members of their household or residence;
          4) engaging in outdoor activity;
          5) eating; or
          6) when wearing a covering poses a greater mental or physical health, safety or
             security risk such as anyone who has trouble breathing, or is unconscious,
             incapacitated or otherwise unable to remove the cover without assistance.

Children under the age of two (including infants) should not wear cloth face coverings. Those
between the ages of two and nine should use them but under adult supervision to ensure that the
child can breathe safely and avoid choking or suffocation. Children with breathing problems
should not wear a face covering. Parents and Guardians of children under 10 shall be responsible
for appropriately masking children pursuant to this Order.

All COVID-19 Suspected Positives, those currently being tested, and untested individuals with
cough and/or fever, and household members of same category of individuals shall not leave their
residence without a mask or cloth face covering to prevent the spread to others.


                                                24
                                                                                           Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 422 of 424

                      DALLAS COUNTY


To the greatest extent possible, all individuals working for an Essential Business must wear a mask
or cloth face covering whenever in public and whenever performing job duties in the presence of
others. To the greatest extent possible, employers shall provide employees with a mask or face
covering. An owner or operator of an Essential Business may refuse admission or service to any
individual who fails to wear face covering.

Medical grade (N95) and surgical masks should be reserved and used only by medical
professionals and first responders. Cloth face coverings are not intended for use by healthcare
workers, first responders, and others whose work requires close contact with people who are ill.

Cloth coverings should be made in accordance with CDC Guidance, which can be found here:
https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/diy-cloth-face-coverings.html




                                                25
                                                                                          Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 423 of 424

                      DALLAS COUNTY


                         DCHHS Social Distancing Rules
1) Vulnerable Populations: Limit Outings
    Vulnerable populations include people who are:
         o 60 years old and older.
         o People with certain health conditions such as heart disease, lung disease, diabetes,
             kidney disease and weakened immune systems.
    For vulnerable populations, don’t go to gatherings unless it is essential. Stay home. Avoid
      people who are sick.

2) Workplace and Businesses: Minimize Exposure
    Suspend nonessential employee travel.
    Ensure employees practice social distancing and do not work within six feet of one
      another.
    Urge essential employees to stay home when they are sick and maximize flexibility in
      sick leave benefits.
    Do not require a doctor’s note for employees who are sick.
    Maximize telecommuting options.
    Persons who need to be at work to provide essential services of great benefit to the
      community must take steps in their workplace to minimize risk.

3) Cancel Non-essential Events
     Cancel non-essential events.
     Do not attend any events or gatherings if sick.
     For events that aren’t cancelled, we recommend:
          o Having hand washing capabilities, hand sanitizers and tissues available.
          o Frequently cleaning high touch surface areas like counter tops and hand rails.
          o Finding ways to implement social distancing.

4) Schools: Safety First
     Do not have your child attend school if sick.
     If you have a child with chronic health conditions, consult the child’s doctor about school
       attendance.
     Schools should equip all classrooms with hand sanitizers and tissues.
     Recommend rescheduling or cancelling events that are not essential.
     Explore remote teaching and online options to continue learning.
     Schools should develop a plan for citywide school closures, and families should prepare
       for further closures.

5) Transit: Cleaning and Protection
     Increase cleaning of vehicles and high touch surface areas.
     Provide hand washing/hand sanitizers and tissues in stations and on vehicles.
     Ensure social distancing practices are implemented to the full extent possible.


                                               26
                                                                                        Case ID: 201101371
      Case 2:21-cv-01217-GJP Document 1-1 Filed 03/12/21 Page 424 of 424

                       DALLAS COUNTY




6) Health Care Settings: Avoid as possible, protect the vulnerable
     Long-term care facilities should have a COVID-19 plan in accordance with CDC or state
       guidelines.
     Long-term care facilities should restrict all visitation except for certain compassionate
       care situations, such as end of life situations.
     The general public should avoid going to medical settings such as hospitals, nursing
       homes and long-term care facilities, even if you are not ill.
     If you are ill, call your health care provider ahead of time, and you may be able to be
       served by phone.
     Do not visit emergency rooms unless it is essential.
     Follow guidance and directions of all facilities.

7) Everyone: Do your part
The best way for all Dallas County residents to reduce their risk of getting sick, as with seasonal
colds or the flu, still applies to prevent COVID-19:
     Wash hands with soap and water for at least 20 seconds.
     Cough or sneeze into your elbow or a tissue. Throw the tissue in the trash.
     Stay home if you are sick.
     Avoid touching your face.
     Try alternatives to shaking hands, like an elbow bump or wave.
     If you have recently returned from a country, state or region with ongoing COVID-19
       infections, monitor your health and follow the instructions of public health officials and
       CDC guidance.

You can also prepare for the disruption caused by an outbreak. Preparedness actions include:
    Prepare to work from home if that is possible for your job, and your employer.
    Make sure you have a supply of all essential medications for your family.
    Prepare a child care plan if you or a caregiver are sick.
    Make arrangements about how your family will manage school closures.
    Plan for how you can care for a sick family member without getting sick yourself.
    Take care of each other and check in by phone with friends, family and neighbors that are
      vulnerable to serious illness or death if they get COVID-19.
    Keep common spaces clean to help maintain a healthy environment for you and others.
      Frequently touched surfaces should be cleaned regularly with disinfecting sprays, wipes
      or common household cleaning products.




                                                27
                                                                                           Case ID: 201101371
